Case 01-01139-AMC   Doc 22766-7   Filed 08/13/09   Page 1 of 84




             EXHIBIT 5
              Case 01-01139-AMC            Doc 22766-7    Filed 08/13/09   Page 2 of 84



                  EXPERT REPORT BY DR. ALAN C. WHITEHOUSE

A.     Qualifications.

       1.       I am Dr. Alan C. Whitehouse. My address is 28810 North Milan

Road, Chattaroy, WA 99003.

       2.       I am licensed in Washington and Montana. I am Board Certified

in pulmonology and internal medicine. I currently practice chest medicine at

the Center for Asbestos Related Disease (CARD) in Libby, Montana, where

we have over 1,800 active cases of asbestos disease from exposure to

Libby asbestos. I have practiced pulmonary mEldicine in Spokane,

Washington, from 1969 - 2004, and in Libby, Montana, from 2004 to date.

        3.      My curriculum vitae is attached as Exhibit 1 .

       4.       In addition, I have been an invited speaker on the subject of

Libby asbestos disease at various locations across the country. See Exh. 1,

Invited Presentations on Asbestos Disease.

        5.      Since 1980 I have evaluated or treated over 700 patients for

asbestos disease from Libby asbestos. I have consulted with CARD

physicians on many others. Since 1980 I havo also evaluated or treated

over 500 patients with asbestos disease from predominately chrysotile

exposures. I am in a position to compare asbel;tos disease from Libby

asbestos to asbestos disease from chrysotile sisbestos. Chrysotile asbestos

Expert Report by Dr. Alan C. Whitehouse               1                                   12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC             Doc 22766-7    Filed 08/13/09   Page 3 of 84



is the usual form of asbestos used in building materials in the United States,

accounting for about 95% of the total asbestos used in the United States.

Fraser and Pare text, p. 2420.

        6.      I have treated the entire range of pulmonary diseases. In my

practice in Spokane in the years 1994-2004, the majority of my time,

probably about 90%, was related to general chest diseases, including

asthma, emphysema, lung cancer and the care of hospitalized patients.

About 5~1 0% of my time was spent on asbestos related issues and other

pneumoconioses. Probably about 10% of my time was related to industrial

disease. Currently I spend a small amount of time on legal matters, but for

the most part, my time is devoted to patient Cj;Jre and research.

        7.      In 30 years of practice I have probably testified at trial 10-15

times, about half for the plaintiff and half for the defendant. I testified in

three asbestos trials relating to exposure from the W. R. Grace mine and mill

near Libby, and one trial on the same subject in Missoula, Montana. These

trials related to asbestos disease from Libby asbestos. In addition, my

deposition has been taken on the subject of asbestos disease probably 25-30

times. I have testified in five Libby asbestos cases before the Montana

Workers' Compensation Court.

        8.       I have published a paper on asbestos disease in Libby, titled

Expert Report by Dr. Alan C. Whitehouse                2                                   12/29/08
Asbestos/ClientiBankruptcyJlNhitehouse Expert Report
               Case 01-01139-AMC          Doc 22766-7    Filed 08/13/09   Page 4 of 84



"Asbestos-Related Pleural Disease Due to Tremolite Associated with

Progressive Loss of Lung Function: Serial Obs,ervations in 123 Miners,

Family Members, and Residents of Libby, Montana," Am J Ind Mad 46:219-

225 (2004). A copy of the paper is attached as Exhibit 2. 123 patients

were followed for an average of 35 months. Lung function was measured in

terms of total lung capacity, forced vital capacity and diffusion cap·acity.

The range of loss was 2-3% per year for each of these lung functions.

       9.      .1 have published a paper titled Whitehouse et al (200B),

"Environmental Exposure to Libby Asbestos and Mesotheliomas." Eleven

cases are discussed. A copy of the paper is attached as Exhibit 3.

        10.     Over the tast three decades I have practiced occupational

medicine. I have performed studies for companies, done screenings for

companies and done disability exams for companies. In the 1980s I was

involved in multiple asbestos disease screenin~~ programs for companies.

have also done independent medical examinations for the State of

Washington Department of Labor and Industry for decades.

B.      The mechanism for asbestos disease.

        11 .    Asbestos is a mineral fiber. There are two kinds, serpentine

(chrysotile) and asbestiform amphiboles. Chrysotile asbestos is the kind

most often used commercially in building products. Chrysotile asbestos is

Expert Report by Dr. Alan C. Whitehouse              3                                   12129/08
Asbestos/ClienUBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC            Doc 22766-7    Filed 08/13/09   Page 5 of 84



more curly, or more club-like, whereas amphibole asbestos is like tiny

needles or spears. Libby asbestos is an amphilbole. It has generally been

referred to as tremolite. Using state of the art methodology, Meeker (2003),

p.1959, has determined that the Libby asbestos is approximately 84%

winchite, 11 % richterite and 6% tremolite. Mlseker, Figure 6 shows the

incidence and close chemical form relation as between winchite, tremolite

and richterite. Meeker, p.1967, suggests that:

                The Vermiculite Mountain amphibole asbestos could,
                for the purposes of regulation only, be considered
                equivalent to tremolite or soda-trernolite asbestos in
                accordance with current and past industrial
                terminology for the Vermiculite Mountain
                amphiboles.

        12.     In relative terms of their length to width (aspect ratio), Libby

asbestos fibers are long and sharp, like needles. The fibers breathed in are

microscopic, as are the alveoli (tiny air sacs) in the lungs. When breathed in,

the fibers lodge in the structure around the alveoli, and are too small to be

expelled. Asbestos fibers irritate and inflame the lung tissue structure

around the air sacs (the interstitia). Scarring in the interstitia is interstitial

disease. When the interstitia are significantly scarred, they can no long

expand or contract fully, and breathing is restricted.

        13.     The amphibole fibers also migrate to the outside portion of the


Expert Report by Dr. Alan C. Whitehouse               4                                   12/29/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC            Doc 22766-7    Filed 08/13/09   Page 6 of 84



lung, where they scar and inflame the pleura (the lung lining) and cause

pleural disease. See the Frazer and Pare text, p.2809. Pleural disease

seems particularly pronounced with Libby aSbE!stos fibers.

       14.      The normal pleura is actually thinn'er than a blown up balloon. It

is a very thin membrane, and it can expand likl9 a balloon. Asbestos fiber

scarring causes the pleura to look much like the orange portion of an orange

rind, and can be just as thick. When surgeons peel it off the pleura, they call

it a rind. When the lung lining becomes as thick as an orange rind, it can no

longer expand freely and breathing is restricted. Asbestos disease is

generally a restrictive lung disease.

C.      Diagnosis of Asbestos-Related Disease.

        15.     For the diagnosis of asbestos related disease, we use the criteria

of the American Thoracic Society (2004) Official Statement, "Diagnosis and

Initial Management of Nonmalignant Diseases Related to Asbestos," Am J

Respir Crit Care Med, 170:691-715. Asbestos interstitial disease is due to

scarring in the lung structure around the alveoili (air sacs) from the poking

and inflammation from asbestos fibers. The asbestos pleural disease seen in

Libby is due to the scarring and inflamation in the pleura (the lung lining)

from asbestos fibers. The CARD Clinic generally uses "ARD" {asbestos

related disease} to refer to nonmalignant asbestos disease. Sometimes the

Expert Report by Dr. Alan C. Whitehouse               5                                   12/29/08
Asbestos/Clientl8ankruptcylWhitehouse Expert Report
               Case 01-01139-AMC           Doc 22766-7    Filed 08/13/09   Page 7 of 84



term" asbestosis" is used as an umbrella term, covering asbestos interstitial

disease and asbestos pleural disease, since the!y are essentially the same

disease process. The Rosenstock text, p.374, states: "Some investigators

have used the term asbestosis to encompass nonmalignant asbestos-related

pleural abnormalities."

        16.     ATS Official Statement (2004) states the diagnostic criteria as

follows:

       Evidence of structural pathology consisttmt with asbestos-related
       disease as documented by imaging or histology.

        Evidence of causation by asbestos as documented by the
        occupational and environmental history, markers of exposure
        (usually pleural plaques), recovery of asbestos bodies, or other
        means.

        Exclusion of alternative plausible causes for the findings.

        The ATS states that lithe occupational history should emphasize

occupational and environmental opportunities 1for exposure that occurred

about 15 years or more before presentation. II

        1 7.    I have taken hundreds of work histories relating to asbestos

exposure at the W.R. Grace mine and mill near Libby, Montana, and am

familiar with conditions in the various jobs thelre. I have also taken hundreds

of histories of exposure from family members of workers and Libby

community members. Pathways for asbestos disease from Libby asbestos

Expert Report by Dr. Alan C. Whitehouse               6                                   12/29/08
Asbestos/ClientlBankruptcyJWhitehouse Expert Report
              Case 01-01139-AMC            Doc 22766-7    Filed 08/13/09   Page 8 of 84



exposure are discussed at Peipins et al (2003)., I have also evaluated

hundreds of patients concerned about asbestos disease from Libby

exposures, and have concluded that they do not have asbestos disease. For

scores of these same patients, I have diagnosE!d lung disease other than

asbestos disease.

       18.      Asbestos disease causes a restrict~ve defect. The amount of air

breathed in is restricted. The physical.examination includes determinations

of chest restriction, the presence of rales (the crackling sound of scarred air

sacs reopening), and an evaluation of shortness of breath. While chest x-

rays occasionally show abnormalities not seen on CT scan, chest x-rays

often miss parenchymal abnormalities of asbestosis seen on CT scan. See

the Fraser and Pare text, p. 2431. Chest x-rays miss an even higher

percentage of pleural abnormalities, as compared to CT scans. Id., pp. 2431

and 2440. ATS Official Statement (2004L p.l596, states: "Only 50 to 80%

of cases of documented pleural thickening demonstrated by autopsy,

conventional CT or high resoltuion CT (HRCT) are detected by chest

radiograph (42, 43)." Frequently we see subpleural interstitial fibrosis on CT

scans which is often not seen on chest x-ray, and which may playa

significant role in the severity of the disease process. See the Schwarz and

King text, p.422; ATS (2004) Official Statemeint, p.702.

Expert Report by Dr. Alan C. Whitehouse               7                                   12/29/08
Asbestos/ClientlBankruptcy/Whitehouse Expert Report
               Case 01-01139-AMC           Doc 22766-7    Filed 08/13/09   Page 9 of 84



       19.      At our clinic, lung function tests are performed in accordance

with ATS criteria. We generally use Knudson norms for vital capacity

(spirometry), Intermountain Thoracic Society for lung volumes, and Miller for

diffusion capacity. Crapo norms are used as rtequired for AMA Guides

disability determinations. Abnormal values arei under 80% of predicted or

over 120% of predicted.

       20.      Pulmonary function tests are the measure of severity of asbestos

disease. The Rosenstock text, p.370, states: "Pulmonary function tests are

the most important tool for the functional aSSElssment of nonmalignant

asbestos-related effects." Of all lung function tests, the three most

important in asbestos disease are forced vital Gapacity (FVC), total lung

capacity (TLC) and diffusion capacity (OLCO). The Fishman text, p.950,

states "[tlhe characteristic pulmonary function changes of asbestosis are a

restrictive impairment with a reduction in lung volumes (especially FVC and

total lung capacity) decreased diffusion capacity, and arterial hypoxemia."

ATS (2004) Official Statement, adopts the above quote at p.697. The AMA

Guides to the Evaluation of Permanent Impairment (5 th Ed), p.1 07,

"considers only pulmonary function measurements for an impairment rating."

        21 .    There are three components to pulmonary function tests. First is

spirometry, which measures the amount of volume of the lung and the

Expert Report by Dr. Alan C. Whitehouse               8                                   12/29/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC           Doc 22766-7     Filed 08/13/09   Page 10 of 84



rapidity of inhalation, which gives an index of air flow and lung volumes.

We usually do this before and after brochodilator.

       Second, we do lung volumes in what is called a body box, or

plethysmograph, where we measure very small changes in air flow, pressure

and volume, with a shutter and a closed system. Using Boyle's law, one can

calculate the volume of the lung.

       Third, we measure diffusion capacity, by having the patient breathe a

small percentage of carbon monoxide, using vE~ry tiny tracer amounts of

methane, which is not absorbed, and we measure what comes out of the

lungs. We measure the methane, measure the, carbon monoxide, and the

differential uptake gives us the carbon monoxide diffusion capacity.

Diffusion capacity is the efficiency of the lung~; in transferring oxygen into

the blood stream. In restrictive lung disease there is interference with the

air/blood interface due to the increased scarring that forms a barrier between

the blood vessels and the alveoli (air sacs).

        22.     When asbestos disease due to Libby asbestos exposure is first

diagnosable, there usually are no symptoms, orily positive findings on chest

x-ray or CT. The disease may take decades to progress to a point of

severity. Severe disease may include shortness of breath, chest pain, rales,

clubbing of the fingernails, hypoxia, cor pulmonale, pleural effusions, and

Expert Report by Dr. Alan C. Whitehouse               9                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC            Doc 22766-7     Filed 08/13/09   Page 11 of 84



oxygen dependency. See ATS (2004) Official Statement. At end stage the

patient is bedridden, oxygen dependent, and g,enerally the hypoxia will lead

to organ malfunction and death.

D.     Pleural Disease Generally.

       23.      "Pleural plaques" are a lesion of the parietal pleura, typically

presenting circumscribed borders and a "raised straight surface with clear

cut edges when seen face on." ATS (2004) Official Statement, p.704.

       24.      The ATS (2004) Official Statement, p. 705, literature review

collects many studies showing that pleural plaques are associated with

decrements in lung function:

        Studies of large cohorts have shown a silgnificant reduction in
        lung function attributable to the plaques,. averaging about 5% of
        FVC (forced vital capacity), even when interstitial fibrosis
        (asbestosis) is absent radiographically (74, 76, 107). The
        presence of circumscribed plaques can be associated with
        restrictive impairment and diminished diffusing capacity on
        pulmonary function testing, even in the absence of radiographic
        evidence of interstitial fibrosis (108, 1OEl).

Textbook authors concur with the ATS (2004) Official Statement.

Fishman's Pulmonary Diseases and Disorders (4th Ed 2008), p.945, states:

"pleural disease has been recognized as the cause of reduced pulmonary

function since the 1970s." The Fishman text, p.945, notes studies showing

pleural plaques associated with decrements in FVC and FEV l ' Fraser and


Expert Report by Dr. Alan C. Whitehouse               10                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 12 of 84



Pare's Diagnosis of Diseases of the Chest (4th Ed. 1999), p.2446, states: "it

has become clear that asbestos related pleural disease can also affect lung

function adversely (718,721,737,738). Both pleural plaques and diffuse

pleural thickening cause decreases in vital capacity, although the effects of

diffuse thickening are more marked." Rosenstock et ai, Textbook of Clinical,

Occupational and Environmental Medicine (2 nd Ed. 2005), p.372, states:

"studies of asbestos exposed populations havE~ variably observed small

reductions in ventilation capacity associated with plaques."

       25.      Importantly, the ATS (2004) Official Statement, p.705, notes

that in patients with pleural plaques, "decrements when they occur are

probably related to early subclinical fibrosis." Schwartz (1990), p.321,

concurs. Similarly, Whitehouse (2004), p.224, states: "pleural changes

alone are unlikely to cause a decrease in DLeO (diffusion capacity). DLCO

decreases are likely to be associated with interstitial disease not apparent

clinically on either plain chest radiograph or HBCT." Pleural plaques are

associated with losses of lung function, and are probably associated with

subclinical fibrosis.

        26.     It is universally accepted that pleural plaques are markers of

asbestos exposure. ATS (2004) Official Statement, p.705 states: "the

presence of pleural plaques should be interpreted as a marker for elevated

Expert Report by Dr. Alan C. Whitehouse               11                                    12129/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
                Case 01-01139-AMC          Doc 22766-7     Filed 08/13/09   Page 13 of 84



risk of malignancy." With or without pleural plaques, "it is clear that an

excess risk for pulmonary carcinoma exists in i3sbestos-exposed workers in

the absence of radiographic evidence of asbestosis." Fraser and Pare text,

p.1075. The Rosenstock text, p.372, states: "plaques are also associated

with increased risk for the malignant outcomes of asbestos exposure,

including mesothelioma and lung cancer." Edgle (1979) established that an

asbestos exposure sufficient to cause pleural plaques is sufficient to cause

mesothelioma.

        27.      An overwhelming majority in the Libby cohort have not only

pleural plaques, but also diffuse pleural thickening, a more serious form of

pleural disease. Serial observations of Libby miners over 30 years show

many with pleural plaques showing on chest x-rays in the 1960s or 1970s,

then development of diffuse pleural thickening in the 1980s, then increasing

lung function loss in the 1990s, with death in the 1990s or after 2000.

        28.      Diffuse pleural thickening is pleural fibrosis, which is scarring

from an inflammatory process due to the presEmce of asbestos fibers. ATS

(2004) Official Statement, p.707 states: "Diffuse thickening of the visceral

pleura is not sharply demarcated, and is often associated with fibrous

strands crowsfeet" extending into the parenchyma (lung structure) ...
           II




Diffuse pleural fibrosis extends continuously over a portion of the visceral

Expert Report by Dr. Alan C. Whitehouse               12                                    12/29/08
Asbestos/ClientiBankruptcyJWhitehouse Expert Report
              Case 01-01139-AMC            Doc 22766-7     Filed 08/13/09   Page 14 of 84



pleura often causing adhesions to the parietal pleura."

        The Fishman text, p.946, states: "DiffUise pleural fibrosis occurs most

commonly as part of a fibrotic process of the visceral pleura and subadjacent

interstitium. It may occur, however, and be quite severe in patients with

minimal pulmonary parenchymal fibrosis." This is true in the Libby cohort as

well. Light and Lee, Textbook of Pleural Diseases, p.501, states: "Diffuse

pleural thickening appears more closely related to amphibole than chrysotile

exposure. "

        29.     Lee et al (2003), p.205, states with regard to 38 subjects with

Wittenoom crocidolite exposure: "In our study, pleural thickening was

associated with reduced lung volumes and OLCO {as had been shown by

others 34, 35}." Yates {1996}, p.304, states with regard to 64 patients

with diffuse pleural thickening: "Our study confirms the findings of earlier

workers in that a significant decrement of FEV 1 and FVC was observed (3-

12, 15-22)." The ATS (2004) Official Statem1ent, p. 707, states:

"Decrements associated with diffuse pleural thickening reflect pulmonary

restriction as a result of adhesions of the parietal with the visceral pleura.

Restrictive impairment is characteristic [meaning decreased vital capacity

and decreased lung volumes]." The Rosenstock text, p.373, states: "In

contrast to the mild effect of plaques on lung function, diffuse pleural

Expert Report by Dr. Alan C. Whitehouse               13                                    12/29/08
Asbestos/Client/BankruptcylWhitehouse Expert Report
              Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 15 of 84



thickening may result in more significant restrictive respiratory impairment."

        30.     It is common knowledge that ther€f is little correlation between

radiographs and asbestos pleural disease severity, and certainly none that

could be applied to individual patients. Miles et al (2008) "Clinical

Consequenqes of Asbestos-related Diffuse Pleural Thickening, a Review,"

p.6, states: "Few longitudinal studies exist, but these have found no

correlation between radiographic severity and longitudinal loss of lung

function." Yates, et al (1996), "Asbestos re Bilateral Diffuse Pleural

Thickening: Natural History of Radiographic and Lung Function

Abnormalities,""p.305, states: "No correlation was observed between

radiographic severity and longitudinal loss of lung function. The chest

radiograph even when accompanied by obliquE! films was an insensitive index

of disease severity." Similarly, Whitehouse (2004), p.223, states: There

was no statistical correlation between the extEmt of pleural changes

measured on the chest x-ray and the loss of pulmonary function."

        Similar statements have been presented in studies on the asbestos

insulators. Markowitz et al (1997), p.106, staltes: "The chest x-ray can be

normal even in the face of severe interstitial fibrosis.            II   In the Markowitz et al

(1997) study of 74 asbestosis deaths, 11 % (8/74) had minimal or no

interstitial fibrosis (lLO score of 0/1 or less). Selikoff et al (1964), p.148,

Expert Report by Dr. Alan C. Whitehouse               14                                    12/29/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
               Case 01-01139-AMC           Doc 22766-7     Filed 08/13/09   Page 16 of 84



states: "significant disability may be present with relatively little to be seen

on x-ray, and, conversely, x-ray changes may !be extensive, with little

functional difficulty."

E.     CARD Mortality Study

        31 .    A mortality study was done on patients of the Center for

Asbestos Related Disease (CARD) Clinic in Libby. The cohort is all patients

seen at CARD or by me in Spokane, with an asbestos-related disease

diagnosis and chest films. The study was done under my supervision.

        A total of 227 patients were identified as deceased through 7/9/08.

41 were excluded as having had no diagnosis of asbestos-related disease

(ARD), no death certificate, no chart and/or no chest film, or as having had

no exposure pre-1990. The total included in the mortality study for analysis

is 186.

        Data was gathered from patient charts. Available death certificates

were obtained, including those available throu~~h the law firms of McGarvey,

Heberling, Sullivan & McGarvey and Lewis, Slovak & Kovacich.

        I reviewed patient charts and made determinations on whether

asbestos-related disease was a significant contributing factor in the death of

each patient, per the "best available information" method described in

Selikoff et al (1992), "Use of Death Certificat€ls in Epidemiological Studies,

Expert Report by Dr. Alan C. Whitehouse               15                                    12/29/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC            Doc 22766-7     Filed 08/13/09   Page 17 of 84



Including Occupational Hazards: Variations in Discordance of Different

Asbestos-Associated Diseases on Best Evidenc:e Ascertainment.                  \I   Data is

displayed on the chart "Summary of Mortality Disease Percentages," (Exh.

7). I determined that 116 of 186 (62%) deceased patients died of asbestos-

related disease - 7 from mesothelioma, 19 from asbestos related lung

cancer, 11 from other asbestos related cancer, and 79 from "asbestosis"

(including asbestos related pleural disease). Note that nonmalignant ARD

deaths are generally coded to ICD-9 501 "Asbestosis."

       Other important observations include thE~ following.

       1)       Only 34% (39/116) of those who died of non-malignant disease

were mineworkers. 66% (77/116) were community members and family

members of mineworkers. Exh. 7.

        2)      The death rate from asbestos disease was not greatly different

as between mineworkers (72% - 39/54) who generally had heavy exposures,

and community members (54% - 58/108), who had light exposures.

        3)      36% (27/74) of those who died of non-malignant disease died

with pure pleural disease, with no int~rstitial fibrosis on the last chest x-ray.

Of the 27, 8 had available CT scans. Of the El, 3 had no interstitial disease

on CT scan. Probably most of the 27 with no interstitial disease on chest x-

ray did show some on CT scan. ATS (2004), p.707, reports only five total

Expert Report by Dr. Alan C. Whitehouse              16                                    12/29/08
Asbestos/ClienUBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 18 of 84



cases of death by pleural disease outside Libby.

       4)      All 79 "asbestosis" deaths had pleural disease to some degree.

One had no pleural disease on chest x-ray, but did have significant pleural

thickening on CT scan. 36% (27/74) had no interstitial disease on chest x-

ray. 46% (34/74) had minimal or no interstiticll disease (0/1 or less), on

chest x-ray. 75% (57/76) died with moderate or extensive pleural disease

(50 with moderate or extensive pleural thickening and 7 with moderate or

extensive pleural plaques). 26 of the 57, had minimal or no interstitial

fibrosis (ILO 0/1 or less). This means that many had moderate or extensive

pleural disease, and minimal or no interstitial disease. The above confirms

clinical observations that many patients die with extensive pleural disease

and little or no interstitial disease. We find no similar reports of a high death

rate by asbestos pleural disease elsewhere in the literature.

        5)      89% (68/76) had pleural thickening. 47% (36/76) had pleural

plaquing. Note that pleural plaquing may not be seen where diffuse pleural

thickening is extensive.

        6)      The last pulmonary function test on each patient was reviewed.

Using severity designations appropriate to Libby patients, the following

observations are made per Knudson norms for spirometry, Intermountain

Thoracic Society for lung volumes and Miller for diffusion capacity. Use of


Expert Report by Dr. Alan C. Whitehouse              17                                    12/29/08
Asbestos/ClienUBankruptcyNVhitehouse Expert Report
              Case 01-01139-AMC          Doc 22766-7      Filed 08/13/09   Page 19 of 84



Intermountain norms for spirometry and diffusion capacity will result in a

significant decline in percentage predicted:

                 2 normal (FVC, TLC, OLCO all over 79)
                 7 mild (FVC, TLC, or OLCO between 70 and 79)
                12 moderate (FVC, TLC, or OLCO between 60 and 69)
                55 severe (FVG, TLG, or OLGO under 60)
                ~ no PFT
                79 total

        7)      It is significant that 44% (30/68) had only DLCO under 65, not

FVC or TLC. DLCO is a very important indicator of severity in the Libby

cohort.

        8)      43% (32/75) had the FEV 1 /FVC ratio under 65, indicating some

obstructive defect. Only 8% (6/71) had an abnormal total lung capacity

(over 120%), indicating that predominately obstructive disease was rare in

the cohort.

        9)      Mean age at diagnosis was 69.4. Mean age at death was 76.3.

Based upon male life expectancy at diagnosis, an average 7.5 years of life

expectancy was lost to asbestos disease.

        32.     Comparison of CARD Mortality Study to Insulator Studies. The

CARO mortality study found that in the group of patients diagnosed with

ARD who have died, 48% died with ARD as a significant contributing factor

per death certificate, and 62% died with ARO as a significant contributing

factor per best available information analysis. Exhibit 7, Summary. The


Expert Report by Or. Alan C. Whitehouse              18                                    12/29/08
Asbestos/ClienUBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC            Doc 22766-7      Filed 08/13/09   Page 20 of 84



62 % death rate from asbestos disease appears to be the highest reported for

any cohort in the United States.

         The experience of the cohort of asbestos insulation workers provides a

context for comparison of Libby mortality from asbestos related disease.

The asbestos insulators had extremely heavy eixposures to asbestos dust,

often working in clouds of dust. The Libby patients, on the other hand, are

mostly community members who had relatively light exposure to asbestos

from casual exposure, such as breathing the air in the Libby area. Only 34%

(39/116) of the Libby patients who died of asbestos disease were mine

workers.

         The cohort of asbestos insulation workers was first studied in Selikoff

et al (1964). A number of follow-up studies have been performed, including

Selikoff and Seidman (1991), "Asbestos Asso(~iated Deaths Among

Insulation Workers in the U.S. and Canada, 1967-1987." The results of this

mortality study and the CARD mortality study are compared in the following

table.

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Expert Report by Dr. Alan C. Whitehouse               19                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
                    Case 01-01139-AMC            Doc 22766-7      Filed 08/13/09   Page 21 of 84



Selikoff and Seidman (1991), p.7, Table 2 summary 1format; comparison to Libby CARD
mortality study


                           Insulators per DC            CARD per DC        Insulators per    CARD per SAl
                                                                           SAl
 Lung cancer               1008       20%                16         9%     1168      24%      19              10%
 pleural meso                  89      4%                    7      4%       173       9%          7          4%
 peritoneal meso               92                                            285

 GI cancer                   188        4%                   9      5%       189       4%     11              6%
 asbestosis                  201        4%               58        :31 %     427      9%      79              42%

 Total ARD deaths           1578      32%                90        48%     2242       45%     116             62%

 All causes                4951 100%                    186       100%     4951     100%      186         100%

DC - death certificate
SAl - best available information

               One problem in comparing the two mortality studies is that in the

      CARD study all patients in the cohort were diagnosed with asbestos-related

      disease (ARD), whereas in Selikoff and Seidman (1991), there is no

      information on whether all the deceased had earlier been diagnosed with

      ARD. It can be estimated from Selikoff and Sl~idman (1991) that a very high

      percentage of the insulators who died likely had been diagnosed with ARD.

       From Table 4, we see that 96% (967/1,008) of the deaths from lung cancer

       were over 20 years from first exposure. From Table 6, we see that 96%

       (412/427) of the deaths from asbestosis were over 20 years from first

       exposure. From Selikoff et al (1964), Table 5" we can determine that 86%

       (339/392) of those workers over 20 years from first exposure had abnormal


       Expert Report by Dr. Alan C. Whitehouse               20                                    12/29/08
       Asbestos/ClientiBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC            Doc 22766-7      Filed 08/13/09   Page 22 of 84



chest x~rays. With the abnormal chest x-ray and exposure history, there is a

likelihood of diagnosis of ARD. We conclude that the results displayed in the

table above for the two studies are comparablEL Even if we subtract 5 %

from the CARD death rate (since all CARD patients were diagnosed with

ARD), the CARD death rate is still significantly higher than the insulators'

death rate, despite the light exposure of the CARD patients.

       The Libby death rate from ARD is 62% per best available information

with 48% per death certificates. The insulators' death rate from ARD is

45% per best available information and 32% per death certificates. With a

death rate higher than even the insulators cohort, it is apparent that

exposure to Libby asbestos is considerably more toxic to humans than was

the predominately chrysotile asbestos exposur,e of the insulation workers.

(Regarding fiber type, see Seidman and Selikoff (1990), p.311).

        Markowitz et al (1997), "Clinical Predictors of Mortality from

Asbestosis in the North American Insulators Cohort, 1981 to 1991,                     II




followed 2,609 insulators examined in 1981 to 1983. The CARD mortality

study may be compared to the Markowitz et al mortality study on asbestos

insulators. The abstract states: lTSeventy~four (11.0%) of 674 deaths during

the subsequent 10 years were due to asbestosis, according to the best

clinical and radiological evidence available at the time of death.              II   The CARD

mortality study used similar methods. Results are compared as follows:

Expert Report by Dr. Alan C, Whitehouse               21                                    12/29/08
Asbeslos/ClientlBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC            Doc 22766-7         Filed 08/13/09   Page 23 of 84



                                                           Markowitz et al       CARD Mortality
                                                              (1997)             Study
Mean age at examination                                          57.5               69.4
Mean age at death                                                65.9               76.0
Years exam to death                                               8.4                6.6
Asbestosis deaths                                                74                 79
Asbestosis deaths as % of total deaths                           11 %               42%
No pleural abnormalities on CXR                                  11 %                1%
No interstitial abnormalities on CXR                              4%                37%
Interstitial 0/1 or less on CXR                                  11 %               43%
Interstitial 2/1 or more on CXR                                  55%                12%

       Though the studies differ in minor respeets, they are epidemiologically

comparable. Markowitz et al (1997) followed individual insulators for 10

years in sequence. In the CARD study, patients were followed from

diagnosis to death, a period averaging 6.6 years, but in some cases was

over 10 years. These studies are nevertheless comparable. Both studies

used the designation "asbestosis," despite varying degrees of pleural and

interstitial disease.

        The insulators had predominately interstitial disease, whereas the

CARD patients had predominately pleural diseelse. The insulators were about

4x as likely to have severe interstitial disease (55% to 12%). The CARD

patients were about 4x as likely to have minimal interstitial disease (44% to

11 %). Of the insulators group, 11 % (8/74) were category zero for

interstitial fibrosis. Of the eight in this group, seven had pleural thickening.

Markowitz et al (1997), p.104. Of the CARD patients, 40% (30/74) were

category zero for interstitial fibrosis. All but one of the 30 had pleural

Expert Report by Dr. Alan C. Whitehouse               22                                       12/29/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC           Doc 22766-7           Filed 08/13/09   Page 24 of 84



disease on chest x-ray, and that one had both pleural and interstitial disease

on CT scan.

       Markowitz et al (1997) does not state the number who were

diagnosed with asbestos-related disease on examination in 1981 to 1983.

As discussed above, it is known that the incid,ence of asbestos-related

disease was very high in the insulators with 30 years exposure. All patients

in the CARD mortality study were diagnosed with asbestos-related disease.

       The most striking observation is that the CARD patients 1 death rate

from asbestosis is about 4x that of the insulators (42 % to 11 %). This result

appears despite the important difference in exposure levels. 63% (50/79) of

the CARD patients were family or community members with light exposures,

whereas the insulators had industrial exposures to asbestos which were

generally quite extreme.

        It is also observed that the CARD patients once diagnosed have a

probability of death by asbestos-related disease, whereas the insulators do

not. Markowitz et al (1997), Table 2, shows that no category (except ILO

3/4 which is exceedingly rare) of interstitial or pleural disease brings a

probability of death.

F.      Libby asbestos is highly toxic.

        33.     Many studies have been done on Libby asbestos and its toxicity.

See the attached listing: "Libby Studies.                  II




Expert Report by Dr. Alan C. Whitehouse               23                                         12129/08
Asbestos/ClientJBankruptcyNVhitehouse Expert Report
             Case 01-01139-AMC            Doc 22766-7      Filed 08/13/09   Page 25 of 84



       34.      There generally appears to be a distinct pattern for Libby

asbestos disease. The disease appears to be predominately pleural, for the

large portion of the time that people have the disease. In the Whitehouse

(2004) study, 55 % of the patients followed had no interstitial disease and

45% had only minimal interstitial disease. ThEl percentage of patients in the

overall patient cohort with no significant interstitial disease is even higher

now, as more recent diagnoses include many people in the early course of

the disease. By contrast, lung function loss in asbestos disease from

predominately chrysotile exposures is mainly secondary to interstitial

disease. In the Libby cohort, interstitial disease generally becomes

radiographically visible rather late in the proce!;s, and trequently is only a

minor factor.

        Consistent with the pleural pattern, in the CARD mortality study 46%

(34/74) died with minimal or no interstitial disE~ase (1/0 or less). There was

more interstitial disease in the CARD mortality study than in the 123 patients

studied in Whitehouse (2004). This is consist,ent with my clinical

observation that interstitial disease often appears in the last years before

death.

        Consistent with the pleural pattern is the statement in the Peipins et al

(2003) abstract: "We observe pleural abnormalities in 17.8% of participants

and interstitial abnormalities in less than 1 % of participants undergoing

Expert Report by Dr. Alan C. Whitehouse               24                                    12/29/08
Asbestos/CfientlBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 26 of 84



chest radiography."

        35.     Pleural disease in the Libby area is widespread. The patient

population is not concentrated in small geographical areas of higher intensity

dust contamination from W.R. Grace mining activities. Peipins et al (2003),

abstract, states: "Mining, handling, processinlg and personal or commercial

use of asbestos-contaminated vermiculite havo led to widespread

contamination of the Libby, Montana area." Peipins et al (2003), p.1754,

states: "air sampling in downtown Libby in 1B75 and at several points in

the 1980s detected levels of asbestos well above the OSHA occupational

limit of 0.1 fiber/cm3 over eight hours of exposure." A W.R. Grace report,

Source Emissions, Results of Surveys, 1975 is attached as Exh. 20.

Asbestos fiber levels were stated as 0.67, 1 .S, and 1.1 for three locations in

the town of Libby in 1975. The town is about seven miles from the mine.

        As to the population of the Libby area, Peipins et al (2003), p.1758,

speaks of a population of 1I9521 persons in CEmtral Lincoln County, a

population that has been relatively stable for the past 30 years {U.S. Bureau

of the Census 2002)." Peipins et al (2003) discusses the demographics of

study participants and discusses the results of screenings administered by

the ATSDR in 2000 and 2001. Chest x-rays were taken on 6,668

participants, representing 61 % of the area population, of whom 18% (1,186

of 6,668) had pleural abnormalities. This is a very large number for a small

Expert Report by Dr. Alan C. Whitehouse               25                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC            Doc 22766-7      Filed 08/13/09   Page 27 of 84



community.

        Peipins et al (2003), Table 3, notes the E~xposure pathways for the

1,186 with pleural and/or interstitial abnormalities:

        Ever worked for W.R. Grace                                     186

        Lived with W. R. Grace workers                                 358

        Environmental only exposures
              derived as 1186-358-186 =                                642

        Resident (more than 6 months before 19t91)                   1, 186.

Note that all participants are "residents." Peipins et al (2003), p.1755,

states lithe pathways presented here are not mutually exclusive." Many

community exposure pathways are listed. Most study participants with

abnormalities are not workers or family memb~Hs of workers, but are simply

residents of the Libby area.

        The pattern seen in exposure histories for patients of the CARD Clinic

is consistent with the findings in Peipins et al 1[2003). Most patients are

community members who are not workers or family members of workers.

Indeed the percentage of new patients who are community members has

increased in recent years. An important aspect of Libby area exposures is

that residents had a 24 hour exposure, with no respite away from exposure

to clear out the airways. This appears to be generally different from

exposures reported elsewhere.


Expert Report by Dr. Alan C. Whitehouse               26                                    12/29/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 28 of 84



       The CARD Clinic has diagnosed over 1 ,8:00 patients with asbestos

related disease by either plain chest x-ray or CT scan, and has confirmed

diagnoses on about 100 patients in other areas of the u.s. All had

exposures to Libby asbestos due to W.R. Grace or Zonolite Company

operations in or near Libby, Montana. Very few patients had exposures to

other asbestos outside the Libby area. Few patients had non-vermiculite

related asbestos exposures within the Libby area. All patients in the over

1,800 diagnosed above have asbestos disease due to exposure to Libby

asbestos with its source in W.R. Grace and Zonolite Co. mining and other

activities.

        36.     The following numbers are supplied by the McGarvey, Heberling,

Sullivan & McGarvey law firm. Of 653 Libby Claimants who are patients of

CARD:

        Ever worked for W.R. Grace                            189           29%
        Subcontractors at W.R. Grace                           26            4%
        Family household member of W. R.                      143           22%
          Grace worker

        Community members (all others)                        295           45%
                            Total                             653           100%

See printout, Exh. 4 "Client Sort by Exposure (Community, Family Member,

Worker)" (CARD patients only) 5/28/08. Whil,e these numbers are

representative only of Libby Claimants, they are consistent with the findings

in Peipins et al (2003), in that the greatest number are community members,

Expert Report by Dr. Alan C. Whitehouse               27                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 29 of 84



who typically played baseball near Grace operations, played as children on

piles of Grace vermiculite, or as residents breathed in asbestos in the dust in

the air in the Libby area.

        37.     In addition to the vermiculite contamination widespread in the

Libby area, a contributing factor in the widespread pleural disease is the

minimal exposures which triggered disease. There are many examples in a

patient cohort of surprisingly minimal exposurHS which led to significant

disease:

       Tom Murray, a former federal magistratEl judge, worked at the
       mine during the summers of 1948 and 1949, and died of
       asbestos lung cancer.

        Betty Maxwell who only visited Libby for 1-2 week periods for
        about ten summers, and cleaned cabins, now has severe
        asbestos disease and is on oxygen.

        Victoria Skidmore who only visited LibbV for errands averaging
        about two trips per month for 14 years, now has pleural
        mesothelioma.

        38.     A hallmark of pleural disease from Libby asbestos exposure is

that it is highly progressive. In Whitehouse (2004) (Exh. 2), 123 patients

with two or more sets of pulmonary function tests were studied. All had

pleural disease, and 55% had no evidence of interstitial changes. There was

an average of 35 months between first and last lung function test. 76% of

the patients showed progressive loss of pulmonary function. The extent and

rapidity of loss of pulmonary function were hi!~hly significant. Page 221

Expert Report by Dr. Alan C. Whitehouse               28                                    12129/08
Asbestos/ClientlBankruptcyMihitehouse Expert Report
             Case 01-01139-AMC            Doc 22766-7      Filed 08/13/09   Page 30 of 84



states that for the 123 patients lithe average vearly loss was 2.2% for FVe,

2.3% for TLC, and 3.0% for OLCO." To my knowledge, no study of

asbestos disease from predominately chrysotille exposure shows overall

progression rates for lung function loss anything like those seen in Libby,

where most patients have had relatively light E~xposures.

       As of 8/23/07, 28 of the 123 patients in the study had died. For 25

of 28, asbestos related disease was a significant factor in death. Life

expectancy at date of diagnosis was calculated for each of the 25. The

average loss was 9.5 years of life expectancy for the 25 patients. See Exh.

5. "Dead in 123 patients in Whitehouse (2004).                  II




       39.      Interestingly, Alfonso (2005), an amphibole study from Australia,

similarly finds an "average rate of decline of DLeo ... [of] about 2.2% per

year [0.55/24.8] in people with asbestosis. II Asbestosis was considered

present upon an ILO score of 1/0 or greater. DLCO decline was not

investigated for pleural disease in the study cohort. In another amphibole

study, Cookson (1983), abstract, states" [t]he ratio of transfer factor to

effective alveolar volume correlated directly with the degree of pleural

thickening as alveolar volume fell with increasing severity of pleural disease.                   II




        Sichleditis (2007) is a study of environmental exposure to tremolite

asbestos in Almopia, Greece. It finds significslnt progressive lung function

loss in patients with pleural disease. Villagers whitewashed buildings using

Expert Report by Dr. Alan C. Whitehouse               29                                    12/29/08
Asbestos/ClientlBankruptcylWhilehouse Expert Report
               Case 01-01139-AMC          Doc 22766-7      Filed 08/13/09   Page 31 of 84



mineral dust, which contained tremolite asbestos. A doubling of the size of

pleural plaques was found in 126 subjects followed for 15 years. 18 of the

126 had pulmonary function tests in 1988 and 2003. Percent predicted for

total lung capacity dropped from 96% to 76% (1.3% per year), forced vital

capacity dropped from 95% to 80% (1.0% per year), and residual volume

dropped from 98% to 66% (2.1 % per year).

       The 18 subjects with pulmonary function tests had comparatively mild

radiographic progression, with only a 60% increase in area of pleural plaques

(p.636) (data at Table 2, p.640). The authors report that " no obvious

radiological abnormalities were detected in lung parenchyma," p.636.

        40.      Rapid progression in the Libby cohort can also be seen

radiographically. Exhibit 6 is a Chart titled "Chart Case # Type of

Progression," which presents a collection of 18 cases of rapid progression in

seven years or less, secondary to pleural diseelse and/or interstitial disease.

To my knowledge, progression of pleural diseelse of this nature has not been

reported elsewhere.

        41 .     Pleural disease from exposure to Libby asbestos appears to be

far more severe than asbestos pleural disease reported elsewhere. The

CARD mortality study presents 27 deaths by pleural disease with no

interstitial disease on last chest x-ray. Exh.7. ATS (2004) p.707, reports

only five total cases of death by pleural disease outside Libby. I have read

Expert Report by Dr. Alan C. Whitehouse               30                                    12129/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC          Doc 22766-7      Filed 08/13/09   Page 32 of 84



reports of others, but they remain very few. In Miles et al (2008), p. 2, the

Australian authors report that death secondarv to diffuse pleural thickening is

livery rare." David Austern, Administrator of the Johns-Manville Trust,

reports that in the history of the trust there hals been just one death by

asbestos pleural disease. (D. Austern, person,al communication). Commonly

the mechanism for death by pleural disease is loss of pleural space resulting

in episodes of hypoxia. Due to the highly prooressive nature of Libby

asbestos disease, once diagnosed with pleural disease, with multiple pleural

plaques or diffuse pleural thickening and a loss of lung function, a patient

has a high probability of progressive disease and early mortality due to

asbestos disease.

        42.     The CARD mortality study observE~d that 65% (117/186) of

deceased patients of CARD died of asbestos disease, meaning that asbestos

related disease was at least a significant contributing factor in the death.

See Exh. 7, Summary of Mortality Study Disease Percentages. Cause of

death per death certificate was noted, and also a determination was made

by best available information review of medical records, per Selikoff (1992).

In contrast, a patient diagnosed with asbestos disease from predominately

chrysotile exposure has a much lower likelihood of death.

        43.     In the CARD pleural disease cohort, there is a large number of

patients with severe pulmonary function impairment. To my knowledge, no

Expert Report by Dr. Alan C. Whitehouse              31                                    12/29/08
Asbestos/ClienVBankruptcylWhitehouse Expert Report
               Case 01-01139-AMC         Doc 22766-7     Filed 08/13/09   Page 33 of 84



similar incidence of impairment is reported in an asbestos pleural disease

cohort elsewhere, or in a chrysotite disease cohort elsewhere. Note th'at

some Libby patients have severe impairment mainly due to smoking. A

proper cohort comparison would include cohorts with asbestos pleural

disease or chrysotile disease including all smokers.

         Per the records of the McGarvey, Heberling, Sullivan & McGarvey Law

Firm, of 653 Libby clients with asbestos disease from exposure to Libby

asbestos who are also patients of CARD, 77 are on oxygen, and 171 have at

least one of the three main indicators of severity of asbestos disease under

60% of normal (FVC, TLC or DLCO). Exhibit B. While these numbers are

representative of the listed patients only, based on clinical observation, it is

likely that they are indicative of severity of asbestos disease in the CARD

patient cohort. (Miller norms are generally uSE,d for DLeO. If translated to

Crapo, a decrease of roughly 10% of predicted occurs.)

         A number of studies report an increased incidence of extensive fibrosis

and pleural effusions associated with exposuro to Libby asbestos, as

compared to what is seen in other populations. See Lockey (1984),

McDonald (1986), Amandus (1 987) and Libby Studies listed.

         44.     Attached is a chart titled "Mesothlalioma Cases with Exposure to

Libby Asbestos as a significant factor." (7/23/08). Exhibit 9 (and CD with

data).     31 cases of mesothelioma are verified, where exposure to Libby

Expert Report by Dr. Alan C. Whitehouse             32                                    12/29/08
Asbestos/ClientiBankruptcyJWhitehouse Expert Report
            Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 34 of 84



asbestos was a significant factor in producing the mesothelioma. Three

others await verification. Verification is per dleath certificate or pathology

report, or both. This is an extremely high incidence of mesothelioma in a

community with an average population of 9,5.21. Peipins et al (2003);

ATSDR (2002). The background mesothelioma rate is thought to be about

one per million per year. Roggli (2007). Therle have been 20 mesotheliomas

with exposure to Libby asbestos as a significant contributing factor in the

past 12 years (1996-2007), or 1.7 per year. If one uses the 20

mesotheliomas, then the Libby area, with a population of about 10,000 is at

166 per million per year, or 166x the background rate. If one uses the 10

mesotheliomas with the Libby area as residence at death, the rate is 83 per

million per year, or 83x the background rate. Libby's mesothelioma rate is

certainly the highest in the United States. Thl~ Fraser and Pare text, p.886,

states the mesothelioma rate to be "33 per miillion per year for South Africa

and to be 66 per million per year for Western Australia." Libby's

mesothelioma rate is among the highest in the! world. It is also noted that

the crocidolite mine at Wittenoom, Australia closed in 1966, whereas the

Libby mine closed in 1990. The full manifestation of mesothelioma in Libby

is far from completion.

        45.     Libby has also had 13 environmental exposure mesothelioma

cases (1995-2007) where the exposure to Lib~y asbestos is considered to

Expert Report by Dr. Alan C. Whitehouse             33                                    12/29/08
Asbestos/Client/BankruptcylWhitehouse Expert Report
             Case 01-01139-AMC           Doc 22766-7       Filed 08/13/09   Page 35 of 84



be a significant factor in producing the mesothelioma. Exh. 9. 11 cases

were described in Whitehouse et al (2008). Two more have been verified

since the date of submission of the article. "Environmental" excludes

miners, but includes immediate family members of miners. Two

mesothelioma cases are household family members of workers at the mine

(Drem and Flatt). If one uses 11 environmental cases 1995 -2007, this

could translate to 0.85 per year (11 cases in '13 years), or 85 Libby

environmental mesothelioma cases per million per year. However, one is

alive and only five of the 11 died as Libby resiidents. Many Libby patients in

end stage disease move to areas with major medical centers. If we use only

the five who died as Libby area residents, then the rate is 38 per year, or 38

per million per year. Libby's environmental mlesothelioma rate is the highest

in the United States, and is among the highest in the world.

        Berry (1996), "Mesothelioma Incidence and Community Asbestos

Exposure," presents mesothelioma statistics for workers and community

residents near the Johns-Manville Plant in the City of Manville, Somerset

County, New Jersey. The Manville plant operated 1912-1980. The Libby

mine and mill operated from the 1930s to 19B3. Even though the Libby

mine operated for fewer years and closed 13 years later, such that the

fulminate presentation of mesothelioma cases is yet to occur, the Libby

community mesothelioma rate appears to be higher than that of Somerset

Expert Report by Dr. Alan C. Whitehouse               34                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC           Doc 22766-7       Filed 08/13/09   Page 36 of 84




County, New Jersey.

       The Manville plant "employed up to 3,500 people, n p.34. The Libby

mine and mill employed at most about 160 people, a difference of about

22x. The town of Libby has had a population of about 3,000. The town of

Manville, situated adjacent to the plant, had an average population of

10,923, p.36. Central Lincoln County (defined as a 10 mile radius from the

center of Libby) had 9,541 persons, Peipins (:~003). Somerset County, New

Jersey, had an average population (1980 and 1990) of 208,435. This is

about 22x the size of Central Lincoln County. So, whereas the Manville

workforce was about 22x of that of Libby, the community size from which

mesothelioma cases is drawn is also about 22:x that of Libby.

        Berry (1996), shows total mesothelioma cases for 1979-1990 for

Somerset County at 143. 61 plant employee cases are subtracted out, for a

net community case number of 82. Using 82 community mesothelioma

cases in 208,435 residents over 11 years results in 36 per million per year.

Using 11 Libby community mesothelioma caSt~S in 9,541 residents over 11

years (1995-2006), results in a rate of 105 pHr million per year.

        Berry (1996), p.36, used "address at time of diagnosis" to determine

eligibility. If we apply this to the Libby community mesothelioma cases, then

we find five with Central Lincoln County residence at the time of diagnosis.


Expert Report by Dr. Alan C. Whitehouse              35                                    12/29/08
Asbestos/ClienVBankruptcyJWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7      Filed 08/13/09   Page 37 of 84




Using these five cases results in a mesothelioma rate of 48 per million per

year (5/11 x 105), exceeding Somerset County, New Jersey at 36 per

million per year.

       Berry (1996), p.38, states that particulclte from the Manville plant

"regularly coated cars, homes and yards like a fresh snowfall in the

immediate community." The Libby mine and mill were seven miles northeast

of Libby, with a prevailing wind from the west and southwest. The entire

production of the mine was shipped out of thl~ Libby railroad yard in town,

and W.R. Grace had a small expansion plant Sind bagging plant near the

railroad tracks. Libby residents report substantial dust in the town, but it

appears that the Manville asbestos dust concEmtrations in town were

significantly greater. However, the Libby asbl3stos is amphibole asbestos,

whereas Manville used approximately 95 % chrysotile asbestos, p. 38.

Amphibole asbestos is more toxic, which likely accounts for the greater rate

of mesothelioma cases in the Libby community, even though exposures were

not as heavy.

        Berry (1 996), notes that due to insufficient exposure histories, there

could be no sorting of community (non-worker) cases into household

member of worker cases and pure environmental cases. This sort can be

accomplished with the Libby community mesothelioma cases.



Expert Report by Dr. Alan C. Whitehouse              36                                    12/29/08
Asbestos/ClienVBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 38 of 84




       46.      Sullivan (2007), Table 1, conservatively finds as of 2001, 154

deaths among Libby mineworkers from asbestos related disease (99 lung

cancers, 15 mesotheliomas and 40 asbestosis). Sullivan (2007), Table 2,

also finds 111 miner deaths by nonmalignant respiratory disease (NMRD).

This is a larger catchall category, and includes the 40 asbestosis deaths. In

all likelihood, if the Selikoff (1991) best available information analysis were

applied, many of the other 71 NMRD deaths in Libby miners could be

identified as due to asbestos related disease. The Sullivan (2007) count of

154 miner deaths due to asbestos disease is very conservative.

        47.     The CARD mortality study adds another 27 miners (including

subcontractors) who have died from asbestos related disease since 2001 .

Exh. 7 in addition to the subjects in the mortsllity study. 23 more workers'

(including two subcontractors) death certificates and records have been

reviewed by me (Exh. 10). These 23 ARD deaths were persons not seen at

CARD or by me in Spokane. The total for workers is 204 (154 + 27 + 23).

        The CARD mortality study shows 50 family members or community

residents died of ARD. In addition to the subjects in the mortality study, 14

more family and community members' death (certificates and records have

been reviewed. Exh. 10. These 14 ARD deaths were persons not seen at

CARD or by me in Spokane. The total for family and community members is


Expert Report by Dr. Alan C. Whitehouse               37                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC             Doc 22766-7     Filed 08/13/09   Page 39 of 84



62 (48 + 14). The above conservatively totals 264 (204 + 62) deaths in

the Libby cohort due to asbestos-related disease.

        Studies on deaths in the Libby cohort are summarized on the attached

chart "Libby Cohort Deaths per Source," Exh. 21. It also appears that W.R.

Grace had documented 30 lung cancers as of 1985. See Exh. 22, memo of

9/17/85.

        48.      "Lincoln County, Montana, had the highest age adjusted

asbestosis mortality rate in the United States for 1988-1997. (Castellan R.

unpublished data)," letter by Peipins et al in Environmental Health

Perspectives 112:a83. It appears that this statement applies to 1998-2007

as well.

        ATSDR (2002), "Mortality in Libby, Montana 1979-1998," is a death

certificates study. Some results from ATSDR (2002) were published in

Horton et al (2006L "A Review of the Federal Government's Health

Activities in Response to Asbestos-Contaminated Ore found in Libby,

Montana."         ATSDR (2002), p. 1, states the f:ollowing conclusions:

        For the 20 year period reviewed in this report (1979-1998),
        mortality in Libby resulting from asbestosis was 40 to 80 times
        higher than expected. Mortality from lung cancer was also
        elevated, with a 20 to 30 percent exce8S over this time period.

Table 10 shows 12 deaths in category 501 "asbestosis," resulting in

standardized mortality ratio 65x higher than tl1at of the U.S. reference


Expert Report by Dr. Alan C. Whitehouse              38                                    12/29/08
Asbestos/ClienVBankruptcyJWhitehouse Expert Report
            Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 40 of 84



population.

       A TSDR (2002) is a very conservative study, since it apparently used

only the primary cause of death, not underlying or contributing causes, and

only counted those who were Libby residents at death. Libby's end stage

patients often move to larger towns with maj10r medical centers, and die

there. ATSDR (2002) may have understated the incidence of asbestosis

deaths in the Libby area. It is not clear how the U.S. reference population

incidence of asbestosis was calculated, and whether only the primary cause

of death was used for the U.S. reference population.

       We will apply the ATSDR (2002) approc:lch of using only the death

certificates' primary cause of death, to the data in the CARD mortality study.

We also include only those who died as residEmts of the "Libby area,"

defined as "Central Lincoln County," per ATSDR (2002). For the ten years

1998-2007, the result is 10 for category 501 "asbestosis. II Exh. 7. We

double the ten year total for comparison of the ten year rate to the ATSDR

(2002) 20 year U.S. baseline rate. This assumes that the baseline U.S.

death rate for asbestosis has not significantly changed from that used in

ATSDR(2002). (1998-2007: 10 asbestosis deaths x 2 = 20. 65 x 20/12

= 104). It appears that the death rate for 19'98-2007 is 104x the U.S. rate.
The Libby area has the highest asbestosis mortality in the United States.

        49.     There is a latency period between exposure and the first

Expert Report by Dr. Alan C. Whitehouse             39                                    12129/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 41 of 84



appearance of asbestos disease on chest x-ray or CT. During the latency

period, microscopic asbestos fibers are working at a microscopic level, until

they become detectible on chest x-ray or CT. ATS (2004), p.695, suggests

a minimum latency period of 15 years. Asbestos pleural disease from

exposure to Libby asbestos often appears radiographically in less than what

would be considered a minimum latency period of 10-15 years. We find no

report of short latency in disease from predominately chrysotile exposures.

       Data on Libby asbestos disease indicateis that changes of asbestos

disease can occur in as little as 3-5 years (clearly defined plaques), whereas

chrysotile latency periods are generally over 10 years. With Libby asbestos,

the range generally appears to be about 5-40 years, with an average latency

period of about 15-30 years from first exposure to diagnosis. Miles et al

(2008), p. 3, report that I'OPT can develop within a year from exposure to

asbestos." We have not seen a latency that short in cases of Libby

exposure.

        The results of W.R. Grace's annual chest x-ray program for workers

from 1959 to 1980 appear to confirm that thle Libby asbestos has a very

high toxicity. Grace's in-house studies in 19€i9, 1975 and 1976 on annual

x-rays showed lung abnormalities in up to 17%, 8% and 6% of employees

with under six years of work. (Exhibit 11, Charts 035a, 035b and 035c

attached). While these workers likely had community exposures prior to

Expert Report by Dr. Alan C. Whitehouse               40                                    12129/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 42 of 84



going to work for W.R. Grace, it is also likely that exposure at Grace was

their first high intensity exposure.

       Consistent with these findings is Cookson (1986), Fig. 1, finding that

about 20% of workers with abnormal films re,ached "onset of asbestosis (Le.

progression from category 0 to category 1) II (p.996) after just 8 years of

work exposure to amphibole asbestos (Exhibit 12).

       Disease at an early age is common in the Libby cohort. Per CARD

Clinic records, 65 patients are in their 30s and 189 patients are in their 40s.

This statement is based upon a total of 1,957 patients on 9/13/06.

        50.     DLeo (diffusion capacity) is a particularly important indicator of
the severity of impairment in the Libby asbestos disease patients. We find

that the OLeO defect is the leading indicator of severity in the Libby cohort,

and has the greatest correlation with shortness of breath and the timing of

the patient's entry to oxygen treatment. In some cases there is significant

asbestos disease on the chest x-ray and only the DLCO is reduced, not the

FVC or TLC. Some patients with severe shortness of breath are severe only

in the DLCO defect. In Whitehouse (2004), p.224, 76% of the 123 patients

had progressive loss of lung function .. Losses were about the same for FVC,

TLC and DLeO at 2 %-3 % per year.

        In the CARD mortality study, among those who died of nonmalignant

asbestos diseases, 44% (30/68) had only DLCO under 65 (out of FVC, TLC

Expert Report by Dr, Alan C. Whitehouse             41                                    12/29/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 43 of 84



and OLCO}.

        The Rosenstock text, p.371, states: "The earliest and most sensitive

finding in asbestosis is frequently a diminished diffusion capacity which may     I




occur in isolation or in combination with other findings." The 2005 Public

Citizen comment by Dr. Michael Harbut, Dr. Philip J. Landrigan, Dr. Alan G.

Whitehouse and Dr. L. Christine Oliver states that DLCO is "essential to

determine how badly a person's lungs are impaired." Exh. 16.

        DLCO (diffusion capacity) defect is probably associated with subpleural

interstitial fibrosis. Whitehouse (2004) explains:

                Pleural changes alone are unlikely to cause a decrease.
                in OLCO. DLCO decreases are lik'ely to be associated
                with interstitial disease not apparent clinically on either
                plain chest radiograph or HRCT.

        It does not appear that decline in diffusion capacity (DLeO) is

significant in U.S. cohorts with predominately chrysotile exposure.

        51 .    Similarly, Alfonso (2005), in an amphibole study, finds an

"average rate of decline of DLGO ... lof] about 2.2% per year 10.55/24.8]

in subjects with asbestosis." Alfonso (2005),. p.184, also states:

"Compared with never smokers, current smokers and ex-smokers had lower

OLGO at baseline, but smoking status did not affect the change in OLCO

during the follow-up period (four years for men}." Wang (1996), Figure 3

shows that asbestos exposure depresses DLGO more than does smoking.


Expert Report by Dr. Alan C. Whitehouse               42                                    12129/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC         Doc 22766-7      Filed 08/13/09   Page 44 of 84



         In another amphibole study, Cookson (1983), abstract, states U[t]he

ratio of transfer factor to effective alveolar volume correlated directly with

the degree of pleural thickening as alveolar volume fell with increasing

severity of pleural disease." Cookson, p.660,. observes that reduced DLCO

II   in patients with asbestos induced pleural dislease suggests covert

parenchymal asbestosis." This is consistent with the statement from

Whitehouse (2004) quoted above.

          52.   Chronic severe pleural pain occurs in a significant percentage of

the Libby cohort at one time or another in the course of the disease. It is

common in Libby patients with diffuse pleural thickening. It is often initially

misunderstood by outside physicians as cardiac ches,t pain. Lockey (1 984)

similarly reports pleural pain in a cohort of workers in Ohio who were

processing Libby vermiculite. Mukherjee et al (2000) report on a group of

mineworkers and residents of Wittenoom, Awstralia, all exposed to

amphibole asbestos (crocidolite). 43% (556 of 1,280) report chest pain

(abstract). Yates (1996), p.304, in another amphibole study reports "chest

pain is a common feature of DPT." For non amphibole exposures, "chronic

severe pleural pain is rare in patients with asbestos related pleural disease."

ATS (2004), p.702. The Fishman text, p.94fi states regarding diffuse

pleural thickening: liThe diffuse nature of the lesion often leads to

 pulmonary symptoms, including dyspnea on exertion, chronic dry cough, and

Expert Report by Dr. Alan C. Whitehouse            43                                    12/29/08
Asbestos/ClienUBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 45 of 84



chest pain." ATS (2004) Official Statement, p.695, states that generally in

asbestos disease: "a non-productive cough is; commonly present.                    tI   A

chronic dry cough is common in Libby patients.

G.     Amphibole toxicity.

        53.     Amphibole asbestos in general and Libby asbestos in particular

are more carcinogenic and fibrogenic (productive of asbestos related disease)

than is chrysotile asbestos. The Greenberg teixt, p.4S0, states:

                Several studies have also shown that worker cohorts
                exposed to higher concentrations of amphibole fibers
                have higher lung cancer rates than those exposed to
                similar concentrations of chrysotil'B asbestos ....
                This pattern of increased toxicity of amphiboles also
                holds true for all the other asbestos-related lung
                diseases (asbestosis, pleural disease, and
                mesothelioma) .

ATS (2004) Official Statement, p.693 states that a reason given for the

greater toxicity of amphiboles is that chrysotile fibers "are cleared more

efficiently than amphibole asbestos fibers, which may be retained

indefinitely." ATS (2004) Official Statement, p.693. See also McDonald

(2004), p.366.

        54.     The Fraser and Pare text, p.1075, states "exposure to amphibole

fibers ... is associated with a significantly gn9ater risk of carcinoma

compared to chrysotile exposure."

        55.      Amphibole asbestos appears to bel at least 4x as carcinogenic as

Expert Report by Dr. Alan C. Whitehouse               44                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
           Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 46 of 84



chrysotile. Hodgson et al (2000) (abstract: the "risk differential between

chrysotile and the two amphibole fibers for lung cancer is thus between 1: 10

and 1 :50"). Antman (1993), p.373S, states: "amphiboles are about 10

times as carcinogenic as chrysotile." EPA (2003) Final Draft, p.1 .4 states

that: amphiboles are about 4x as carcinogenic as chrysotile; EPA (2003)

Report, p.3-1 states: "according to the proposed risk assessment

methodology, amphibole fibers have a five fold greater lung cancer potency

than do chrysotile fibers." Also, see Stayner (1996), abstract: "there is little

evidence to indicate lower lung cancer risk" for chrysotile.

       56.     Tremolite asbestos, which appear:s to be a close relative to the

Libby amphibole asbestos, is considerably more carcinogenic than chrysotile

asbestos. See McDonald (1997), Table 1. American Thoracic Society

(1990), p.1456, states: "[alsbestiform varieties of tremolite, are highly

carcinogenic." Case (1991), p.494, states regarding an animal study:

n[s]ignificantly, the tremolite fibers were amongst the most carcinogenic

tested, with actual incidence of 75% and 'percent tumor probability' of

100%." Also, McDonald (2004), calling the Libby asbestos "fibrous

tremolite," found in a cohort of 406 Libby miners a 240% increase in

respiratory cancer (Table 2).

        5 7.    Amphibole asbestos fibers are variously estimated at 100x to


Expert Report by Dr. Alan C. Whitehouse            45                                    12/29/08
AsbestosfClienUBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC          Doc 22766-7       Filed 08/13/09   Page 47 of 84



1,000x as productive of mesothelioma as chrysotile fibers. EPA (2003) Final

Draft, p.1-4 uses a factor of 1,OOOx ("for mesothelioma the best estimate of

the coefficient (potency) for chrysotile is only 0.0013 times that for

amphibole"). Hodgson (2000), abstract, uses a factor of 1OOx to 500x, (" at

exposure levels seen in occupational cohorts, it is concluded that the

exposure specific risk of mesothelioma from the three principal commercial

asbestos types is broadly in the ratio of 1: 100: 500 for chrysotile, amosite

and crocidolite respectively").

        58.     Amphibole fibers are more fibrogenic than are chrysotile fibers.

McDonald (1999) (abstract: "this study sugge,sts that amphibole fibers,

including tremolite, are more fibrogenic than c:hrysotile, perhaps to the same

extent that they are carcinogenic ll ). The saml3 study indicates at Table 1

that Quebec tremolite asbestos fibers are at le~ast two times as fibrogenic as

chrysotile. McDonald (2004) demonstrates that in 406 Libby miners, deaths

due to nonmalignant respiratory disease were at 309% of the U.S. rate.

        59.     Amphibole asbestos is more than twice as likely to produce

asbestosis and asbestos pleural disease which is radiographically

progressive, than is chrysotile asbestos. Compare the following

predominately chrysotile studies: Jones (198!9), Gregor (1979) and Becklake

(1979), with the following amphibole studies: Sluis-Cremer (1989), Cookson


Expert Report by Dr. Alan C. Whitehouse               46                                    12/29/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC          Doc 22766-7      Filed 08/13/09   Page 48 of 84



(1 986), Ehrlich (1 992), and McDonald (1999). See the chart Studies on     II




Radiographic Progression of Asbestos DiseaSE!." Exhibit 13.

       In most patients with asbestos disease (including asbestos pleural

disease) from exposure to amphibole asbestos, the asbestos disease is

progressive. Sluis-Cremer (1989), p.852, states regarding subjects with

predominately amphibole exposure, "it appears that once a dose of asbestos

sufficient to initiate the disease has been reta~ned, it is inexorably

progressive.    II   Mossman and Churg (1998), p.1669 state: "Biopersistence is

probably responsible for the much greater tendency of amosite or crocidolite-

induced asbestosis to progress, compared to (~hrysotile-induced asbestosis.                  II




       Cookson (1986), presents Fig. I, (attached as Exhibit 12) a chart

showing that 34 years after first crocidolite exposure approximately 97% of

workers with abnormal films progressed radio!~raphically to at least mild

disease, 77% to at least moderate disease and 65% to at least severe

disease. Crocidolite, like Libby asbestos is an amphibole. Based on my

experience, I believe the numbers for the Libby workers would be similar.

Cookson (1 986) is consistent with the high rate of functional disease

progression (76%) found in Whitehouse (2004) in 123 patients with

exposures to Libby amphibole.

H.      Obstructive Defect and asbestos-related disease.


Expert Report by Dr. Alan C. Whitehouse            47                                    12/29/08
Asbestos/ClienVBankruptcylWhitehouse Expert Report
           Case 01-01139-AMC            Doc 22766-7      Filed 08/13/09   Page 49 of 84



       60.      Restrictive disease restricts what is breathed in. Obstructive

disease obstructs what is breathed out.

      . Asbestos disease has been generally thought to be predominately a

restrictive disease. The scarring in the lung lining (pleura) and in the lung air

sacs and structure (parenchyma) restricts the lungs' ability to expand on

inhalation.

       Smoking disease is an obstructive disease. It obstructs what is

breathed out. With emphysema, the lung tissue acts like an over expanded

balloon. It does not constrict back to its natural form. Hence exhalation is

obstructed.

        61.     Smoking causes emphysema and chronic bronchitis. ATS

(1995), p. 578, states:

                Emphysema is defined as abnormal permanent enlargement of
                the air spaces distal to the termin.al bronchioles accompanied by
                destruction of their walls and without obvious fibrosis.

                Chronic bronchitis is defined as the presence of chronic
                productive cough for three months for at least two successive
                years.

                Chronic obstructive pulmonary disease (COPD) is defined as a
                disease state characterized by the presence of airflow
                obstruction due to chronic bronchitis or emphysema.

ATS (1995), p.79, states: "[o]nly about 15% of cigarette smokers develop

clinically significant COPD."


Expert Report by Dr. Alan C. Whitehouse             48                                    12/29/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC          Doc 22766-7       Filed 08/13/09   Page 50 of 84



       62.     Generally the differences between obstructive disease due to

smoking and restrictive disease due to asbestos can be sorted out on

pulmonary function tests. The sorting process is seriously complicated by

the fact that asbestos disease often causes akway obstruction, or

obstructive disease.

       63.      It is generally accepted that ARD causes obstructive disease.

The ATS (2004) Official Statement, p. 710, states: "The association

between airway obstruction and exposure to ,asbestos has been well

demonstrated in non-smokers, and in some studies the association between

exposure and airway obstruction is seen only among non-smokers." And,

ATS (2004) Official Statement, p.708, states" asbestos exposure has long

been known to be associated with an obstructive physiological abnormality."

The Fishman text, p.950, states: "mild airway obstruction can also be seen

in non-smokers with asbestosis." The Rosenstock text, p.371, states: "In

addition to parenchymal effects, asbestos can cause air flow obstruction."

The Fraser and Pare text, p.2445, states: "Many patients, however, show

some degree of airway obstruction as well, as a result of asbestos-induced

bronchiolar fibrosis." This means association with obstructive defect.

        More recently Ohar et al (2004) reviewc:~d data on 3,383 asbestos

exposed workers in "the Selikoff registry." At page 751, the authors state:


Expert Report by Dr. Alan C. Whitehouse              49                                    12/29/08
Asbestos/ClienUBankruptcyJWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 51 of 84



"In this analysis of 3,383 subjects, we have shown that airways obstruction

is more common than restriction in asbestos E:~xposed individuals currently

undergoing evaluation. These results confirm the findings of Kilburn and

colleagues (31, 39, 40, 43) and supports published clinical pathologic

correlates. Churg et al (46) have shown that asbestos exposure results in

small airways disease. . .. in this study the effects of exposure to both

cigarette and asbestos acted additively to induce airways obstruction."

        64.     The Fishman text, p.604~605, states: "the hallmark of the

obstructive pattern is a reduction in the FEV 1/FVC percentage ... Typically                      I




all three lung volumes - residual volume, functional residual capacity, and

total lung capacity are increased." Normal for FEV 1 /FVC is generally 70

percent or higher. Markowitz, et al (1997), p. 102, used a ratio of 70 as

normal for ages under 60 and a normal of 65 for those 60 or older. I concur

with that. For hyperinflation in obstructive di!;ease, TLC or RV must be

abnormal, at over 120 percent of predicted.

        65.     A restrictive pattern is generally described as a reduction in

forced vital capacity (FVC) and total lung capacity (TLC), with the FEV,/FVC

ratio remaining normal. The Fishman text, p.607, states: "The diagnosis of

restriction is based upon the finding of a normal FEV,/VC (ratio) and reduced

VC in the setting of a reduced TLC ... residual volume is usually reduced."


Expert Report by Dr. Alan C. Whitehouse               50                                    . 12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC           Doc 22766-7       Filed 08/13/09   Page 52 of 84



       66.      Very often there is an obstructive pattern associated with Libby

amphibole asbestos disease. An obstructive pattern has been associated

with asbestos pleural disease in the literature. ATS (2004) Official

Statement, p.708 states: "Asbestos related c:hronic airway obstruction may

result in reduction in the FEV,/FVC ratio, associated with reduced FEV, (29,

76, 113, 127).11 Schwartz (1990), p.323, states "diffuse pleural thickening

was associated with modest decrements in the FEV,/FVC ratio." See also

Schwartz (1990), p.323, Table 4. ObstructivlB defect, with a reduced

FEV,/FVC ratio, is a significant factor in many Libby patients with diffuse

pleural thickening, and may become severe enough to cause significant

obstructive airway disease in the absence of any other cause. As noted by

Ohar et al (2004), where the asbestos exposed patient also has a history of

smoking, the two may be additive in causing obstructive defect.

        67.     ATS (2004) Official Statement, p.697, states: "Mixed restrictive

and obstructive impairment is frequently seen;: isolated obstructive

impairment is unusual." The Rosenstock text, p.371 states: "A mixed

restrictive and obstructive impairment is also Gommon (with greater

reductions in FEV, than FVC, resulting in a diminished FEV, IFVC ratio ....

Asbestos-related airflow obstruction interacts with the effects of smoking,

resulting in more pronounced obstructive changes. . . . Total lung capacity


Expert Report by Dr. Alan C. Whitehouse               51                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 53 of 84



(TLC) is generally an insensitive measure of functional impairment. A result

of the competing forces on TLC in mixed restrictive and obstructive

impairment, with a reduction in TLC related to restrictive disease and an

increase in TLC related to concurrent obstructive air trapping. 11 ATS (2004)

Official Statement, adds "total lung capacity may be normal when both

disorders are present, due to a restrictive process offsetting air trapping. II

Likewise "the obstructive - restrictive combination can produce an overall

normal spirometric test result. 11 2005 Public Citizen comment by Dr. Michael

Harbut, Dr. Philip J. Landrigan, Dr. Alan C. Whitehouse and Dr. L. Christine

Oliver. Exh. 16.

        Mixed disease is frequently seen in the Libby cohort. Interestingly, in

the Markowitz (1997) study of asbestos insulators at Table 5, mixed

restrictive and obstructive disease produced a higher risk of death than did

restrictive disease alone or obstructive diseasE~ alone.

I.      Other studies on libby patients.

        68.     In 2000, I performed a review of causes of death in certain

workers at the W.R. Grace mine. This was nc)t a comprehensive study.

Available death certificates and medical records were reviewed. Most of the

death certificates came from the records of W'.R. Grace & Co. I identified

100 workers from the W.R. Grace mine and mill who had died of asbestos


Expert Report by Dr. Alan C. Whitehouse             52                                    12129/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC           Doc 22766-7       Filed 08/13/09   Page 54 of 84



related disease. Of the 100, 49 died of asbes;tos lung cancer, 11 died of

mesothelioma and 40 died of asbestos related fibrotic disease (including

asbestos pleural disease). See Exhibit 14 "Workers Dead from Asbestos

Disease. "

        McDonald (2004) followed up on a cohort of 406 Libby miners. That

study found, as of 1998, 107 total deaths, with 44 of respiratory cancer, 12

of mesothelioma and 51 of nonmalignant respiratory disease (NMRD, a

somewhat broader category than asbestos rel,ated disease). The numbers in

McDonald (2004) and the evaluation I did appear to be quite similar.

        Sullivan (2007) followed up on the entire cohort of 1,672 Libby

mineworkers. Sullivan (2007), Table 1, finds as of 2001, 767 total deaths,

with 99 by lung cancer, 15 by mesothelioma, 40 by asbestosis and 111 by

nonmalignant respiratory disease NMRD (which include the 40 asbestosis

deaths).

        69.     The CARD Clinic in December 2005 performed a study

comparing chest x-ray readings on 44 patients by CARD doctors, by ATSDR

readers, and by Grace hired doctors. In the fall of 2005, the Grace Libby

Medical Plan sent letters of denial to about a quarter of those enrolled in the

plan. This was done through the plan administrator Health Network of

America (HNA). The denials were based on clhest x-ray readings by doctors


Expert Report by Dr. Alan C. Whitehouse               53                                    12/29/08
Asbestos/ClientiBankruptcyJWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 55 of 84



hired by the Grace Plan showing no asbestos disease. The Center for

Asbestos Related Disease in Libby took the first 70 letters of denial brought

in by patients, and compared the CARD readings against those by the U.S.

Agency for Toxic Substances and Disease Reoistry (ATSDR), where

available, and readings by outside doctors, where available. 44 of the 70

patients with Grace Plan denials had had chest x~rays read by the ATSDR in

connection with screenings done in 2000 and 2001. See Peipins et al

(2003). In 27 of 44 cases, the ATSDR confirmed the CARD finding of

asbestos disease. Fourteen times the ATSDR readers on balance agreed

with the Grace Plan hired doctors. There wer,e three ties. In sum, the

ATSDR was about 2x as likely to confirm the CARD readings. See Exhibit

15, Audit of HNA Denials and Downgrades of Severity of Disease (December

2005 revised).

        Sixty-eight of the 70 patients denied by the Grace Plan had had chest

x-rays and/or CT scans read by Dr. Steven Be,eker, radiologist at the St.

John's Hospital in Libby. On 51 of 68 patients, Dr. Becker concurred with

CARD. On the 17 where Dr. Becker did not concur, 16 of 17 CARD chest

x-ray readings were confirmed by CT or other outside reading. On the one

remaining, the CARD Clinic agrees that its initial reading was incorrect.

        70.      In 2007, an audit was done upon the chest x-ray readings by Dr.


Expert Report by Dr. Alan C. Whitehouse               54                                    12/29/08
Asbestos/CrientiBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC           Doc 22766-7       Filed 08/13/09   Page 56 of 84



David Weill, who was hired by W.R. Grace & Co. to read chest x-rays on

380 patients of the Center for Asbestos Related Disease. In many cases Dr.

Weill read chest x-rays with dates on or near the dates of chest x-ray

screenings done in Libby by the ATSDR. These chest x-rays were read by

independent readers not hired by Grace or by the Libby Claimants. To

investigate the question whether the ATSDR readers agreed more often with

Grace's Dr. Weill or with the CARD Clinic tre~lting physicians in Libby, on the

issue of whether or not disease was present, a comparison study was

performed. Results for the 59 patients, who are clients of McGarvey,

Heberling, Sullivan & McGarvey, with reads by Dr. Weill, CARD and the

ATSDR are tabulated on Exh. 19 attached. Rlesults are summarized as

follows:

        11      All agreed (Weill, CARD, ATSDR)
        26      ATSDR agreed with CARD
        16      ATSDR agreed with Weill
         2      form unreadable
        -4      tie 1/1 (1 ATSDR reader agreed with each)
        59      total with ATSDR readings

The result is that where Grace's Dr. Weill and CARD disagreed, the ATSDR

agreed with the CARD Clinic doctors 62% of the time (26/42), and agreed

with Dr. Weill only 38 % of the time (16/42). Regar~:Hng the 16 where the

ATSDR agreed with Dr. Weill, followup chest x-rays or CT scans as read by

independent radiologists confirmed the readin!~s by the CARD Clinic doctors

Expert Report by Dr. Alan C. Whitehouse               55                                    12129/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 57 of 84



on all 16 patients.

       71 .     To compare CARD pulmonary function test (PFT) results to other

pulmonary labs in northwest Montana, a study was undertaken. Certain

patients who are clients of the law firm McGalrvey, Heberling, Sullivan &

McGarvey had independent medical exams (IMEs) or defense medical exams

in the course of litigation. In Montana OCcup€ltional disease cases, the State

of Montana arranges IMEs called "panel exams.                  II   In addition, the defending

insurance company in a Montana occupational disease case may arrange a

defense medical examination. Also certain patients had had defense exams

arranged for by the Burlington Northern Santa Fe Railroad.

        All such IMEs were collected. IMEs with PFTs done within six months.

of a CARD PFT were selected. One was excluded as the hospital concluded

it was a poor test. Comparison results are summarized on Exhibit 23 for the

remaining 22 patients.

        The lung function test measures of forcl~d vital capacity (FVC), total

lung capacity (TLC) and diffusion capacity (OL.CO) were chosen as they are

the three key indicators of severity in asbestos disease. Highest FVC before

or after bronchodilator was used. Individual tabulations and underlying PFT

records are attached on a CD titled "PFT Comparison Study 7/23/07." On

Exhibit 23, "Percent difference" means the extent to which the independent

pulmonary lab numbers were above or below the results obtained by the


Expert Report by Dr. Alan C. Whitehouse               56                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC            Doc 22766-7      Filed 08/13/09   Page 58 of 84



CARD Clinic. The average difference was -3.f58%, meaning that the CARD

Clinic results were on the average about 3.68% higher than the independent

pulmonary labs in Kalispell and Missoula. The difference is within the margin

of error on lung function tests. The higher results obtained by the CARD

Clinic lab may mean that technicians at the CARD Clinic were of higher

competency than were those in the independent laboratories.

J.     Other Observations

       72.      Blunting or obliteration of the costophrenic angle is a chest x-ray

sign. The costophrenic angle is on the side of the chest x-ray at the lower

end of the lung area. No pulmonologist would use blunting to determine a

diagnosis of asbestos pleural disease. Nor would a practitioner use blunting

to determine severity of asbestos pleural disease.

        ILO (2000) includes blunting in its scoring definition for diffuse pleural

thickening. Cases with diffuse pleural thickening and no blunting fall out of

the ILO (2000) scoring system and are called out as pleural plaques. This is

a false result. Diffuse pleural thickening may be present in the lower,

middle, and/or upper lung zones, whether or not there is blunting in the

distant costophrenic angle. ILO (2000) cites no medical literature in support

of its new classification for diffuse pleural thickening. No blunting

requirement appeared in the earlier version of the ILO Guidelines. Light and



Expert Report by Dr. Alan C. Whitehouse               57                                    12/29/08
Asbestos/ClientlBankruptcyMihitehouse Expert Report
           Case 01-01139-AMC            Doc 22766-7      Filed 08/13/09   Page 59 of 84



Lee, Textbook of Pleural Diseases (2 nd Ed. 2008), p.502, states that the ILO

(2000) scheme is "not of much value clinically" for pleural disease.

       In the CARD mortality study, of the patients who died of nonmalignant

asbestos disease, only 43% (33/76) had blunting of a costophrenic angle.

       Definitions of diffuse pleural thickening do not require blunting of the

costophrenic angle. ATS (2004), p. 707, statl~s "diffuse thickening of the

visceral pleura is not sharply demarcated ... (it) extends continuously over a

portion of the visceral pleura, often causing adhesions to the parietal pleura,

involving fissures and obliterating the costophrenic angle." ATS (2004) does

not include blunting in the diagnostic criteria for asbestos-related disease.

        Similarly, the Frazer and Pare text, p.2804, defines diffuse pleural

thickening as "with or without obliteration of the costophrenic sulci (56,

57)." The Rosenstock text, p.369, describes diffuse pleural thickening as

"may involve costophrenic sulcus." McLoud (1985), p.14, studied 185

cases of diffuse pleural thickening and found that costophrenic angle

obliteration "was not a consistent accompaniment of diffuse thickening."

McLoud (1985), p.16, states that blunting was often found where diffuse

pleural thickening was due to effusions, howeiver, "it is rare when the

appearance is due to confluent pleural plaques" (which was 25% of the 185

cases). Lilis et al (1986), in an analysis of 1, '11 7 insulators found 23 % with



Expert Report by Dr. Alan C. Whitehouse             58                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 60 of 84



measurable pleural thickening and only 13% with blunting.

       Lilis et al (1991), abstract, states "the obliteration of the costophrenic

angle(s), even with pleural fibrosis of limited Etxtent, resulted in marked

decrement in FVC percentage predicted." No data are presented indicating

the extent of correlation. In any event, FVC is the standard measure of

severity, not blunting. There is no suggestion by the authors that blunting

could ever be applied to individual patients as a measure of severity of

impairment. Lilis et al (1 991) did not study lung function decrements in

cases of pleural thickening without blunting, C1nd presents no comment on

severity of lung function impairment in cases without blunting. Moreover,

Litis (1 991) only tests one of the three measures of severity of asbestos

disease, FVC, TLC and OLCO. A patient may have severe impairment with

severe shortness of breath, and only one of FVC, TLC or OLeO is in the

severe range. Generally, with pleural thickening there is no correlation

Ilbetween radiographic severity and longitudinal loss of lung function.'l

Yates et al (1996), p.305.

        73.     ILO (2000) includes a minimum requirement of 3mm thickness in

its scoring definition of "diffuse pleural thickening." There is no scientific

basis for a requirement of 3mm thickness to c:onstitute "diffuse pleural

thickening." Without the 3mm minimum thickness, cases of pleural



Expert Report by Dr. Alan C. Whitehouse               59                                    12/29/08
Asbestos/ClientlBankruptcyM'hitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 61 of 84



thickening drop out of the ILO scoring system and are called pleural plaques.

This is a false result. The earlier version of the ILO Guidelines did not have a

3mm minimum requirement for pleural thickening.

       ATS (2004), Official Statement, p. 707, notes that pleural thickening

"ranges 'in thickness from less than 1mm up to 1cm or more." No minimum

thickness is required for the diagnosis of asbestos-related disease under the

ATS (2004) Official Statement diagnostic critlsria.

        Nor is thickness of pleural thickening a measure of the severity of

impairment. As noted in the letter by the President of the American Thoracic

Society, "diffuse pleural scarring can be assodated with. greatly diminished

FVC regardless of the extent or thickness of the scarring or its bilaterality.                 II




Exhibit 18. As noted, with pleural thickening there is no correlation

"between radiographic severity and longitudinal loss of lung function. rr

Yates et al (1996), p.305. Thickness of pleural thickening was included in

the pleural scoring system tested in Yates et al (1996). The 3mm

requirement is contrary to standard practice in diagnosing asbestos pleural

disease and contrary to the ATS (2004) criteria for diagnosis of asbestos-

related disease.

        In the CARD mortality study, 17% (13/76) of those who died of

nonmalignant asbestos disease had less than a 3mm thickness in pleural



Expert Report by Dr, Alan C. Whitehouse               60                                    12129/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 62 of 84



thickening.

       The ILO (2000) requirement of 3mm minimum thickness to call out

pleural thickening is dysfunctional and has no relation to the practice of

medicine.

       74.      The National Institute for Occupational Safety and Health

certifies "8 Readers" who have passed a test on selected chest x-rays which

are characteristic of certain scoring levels in the ILO (2000) classification

system. The ILO (2000) scoring system for chest x-rays and the 8 Reader

certification is for research purposes. As noted in Light and Lee, Textbook

of Pleural Diseases, p. 502, the ILO system "is useful for epidemiology

purposes but not of much use clinically." As noted above, the ILO system of

classification is never used for diagnosis, and is of no value in the

classification of severity of impairment in a particular patient. Lung function

tests are the gold standard for measurement of functional impairment in

individual patients. And, even lung function tests often do not correlate with

degree of shortness of breath or degree of hypoxia.

        The ILO classification system is not used in clinical practice in the

Northwest United States. The number of 8 Readers has declined of late.

There is no 8 Reader in Montana.

K.      Grace/ACC Medical Criteria.



Expert Report by Dr. Alan C. Whitehouse             61                                    12/29/08
Asbestos/Client/BankruptcylWhitehouse Expert Report
           Case 01-01139-AMC            Doc 22766-7      Filed 08/13/09   Page 63 of 84



       75.     I have reviewed the medical criteria in the Grace/ACC Plan of

Reorganization, Trust Distribution Procedures (TDP). The TDP category for

"Severe Disabling Pleural Disease", p.26, note 7, "restricts diffuse pleural

thickening to cases where there is associated blunting of the costophrenic

angle." The TDP requires a finding of bluntin~~ of the costophrenic angle,

before the patient is determined to have "diffuse pleural thickening." This is

an incorrect definition of "diffuse pleural thickening."

       Blunting or obliteration of the costophrenic angle is a chest x-ray sign.

The costophrenic angle is on the side of the chest x-ray at th'e lower end of

the lung area. No pulmonologist would use blunting to determine a diagnosis

of asbestos pleural disease. Nor would a prac:titioner use blunting to

determine severity of asbestos pleural disease.

        ILO (2000) includes blunting in its scoring definition for diffuse pleural

thickening. Cases with diffuse pleural thickening and no blunting fall out of

the ILO (2000) scoring system and are called out as pleural plaques. This is

a false result. Diffuse pleural thickening may be present in the lower,

middle, and/or upper lung zones, whether or not there is blunting in the

distant costophrenic angle. ILO (2000) cites no medical literature in support

of its new classification for diffuse pleural thickening. No blunting

requirement appeared in the earlier version of the ILO Guidelines. Light and



Expert Report by Dr. Alan C. Whitehouse             62                                    12/29/08
Asbestos/ClientfBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 64 of 84



Lee, Textbook of Pleural Diseases (2 nd Ed. 2008), p.502, states that the ILO

(2000) scheme is "not of much value clinically" for pleural disease.

        In the CARD mortality study, of the patients who died of nonmalignant

asbestos disease, only 43% (33/76) had blunting of a costophrenic angle.

Attached as Exhibit 17 is a letter dated February 9, 2005, titled "Preliminary

Report of 79 chest x-rays reviewed relative to the Asbestos Injury Resolution

Act of 2005.      II   This study was done in response to a similar requirement of

blunting of the costophrenic angle in a draft of the asbestos bill. It is my

understanding that this requirement was removed from the asbestos bill in

the special provisions for Libby, as reported out of the Senate Judiciary

Committee on May 26, 2005. As noted on the preliminary report in 2005,

only 22 of 79 (28%) patients had blunting of the costophrenic angle.

        Definitions of diffuse pleural thickening do not require blunting of the

costophrenic angle. ATS (2004), p.707, statl~s "diffuse thickening of the

visceral pleura is not sharply demarcated ... (it) extends continuously over a

portion of the visceral pleura, often causing adhesions to the parietal pleura,

involving fissures and obliterating the costophrenic angle." ATS (2004) does

not include blunting in the diagnostic criteria for asbestos-related disease.

        Similarly, the Frazer and Pare text, p.2804, defines diffuse pleural

thickening as "with or without obliteration of the costophrenic sulci (56,



Expert Report by Dr. Alan C. Whitehouse               63                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
               Case 01-01139-AMC         Doc 22766-7            Filed 08/13/09   Page 65 of 84



57).   II   The Rosenstock text, p.369, describes diffuse pleural thickening as

"may involve costophrenic sulcus.              II   McLoud (1985), p.14, studied 185

cases of diffuse pleural thickening and found that costophrenic angle

obliteration "was not a consistent accompaniment of diffuse thickening.                          II




McLoud (1985), p.16, states that blunting was often found where diffuse

pleural thickening was due to effusions, howElver, "it is rare when the

appearance is due to confluent pleural plaques" (which was 25% of the 185

cases). Lilis et al (1 986), in an analysis of 1, '117 insulators found 23 % with

measurable pleural thickening and only 13% with blunting.

            Lilis et al (1 991 ), abstract, states lithe ()bliteration of the costophrenic

angle(s), even with pleural fibrosis of limited Elxtent, resulted in marked

decrement in FVC percentage predicted.                     II   No data are presented indicating

the extent of correlation. In any event, FVC is the standard measure of

severity, not blunting. There is no suggestion by the authors that blunting

could ever be applied to individual patients as a measure of severity of

impairment. Lilis et al (1991) did not study lung function decrements in

cases of pleural thickening without blunting, and presents no comment on

severity of lung function impairment in cases without blunting. Moreover,

Lilis (1991) only tests one of the three measures of severity of asbestos

disease, FVC, TLC and DLCO. A patient may have severe impairment with



Expert Report by Dr, Alan C. Whitehouse               64                                         12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
           Case 01-01139-AMC           Doc 22766-7       Filed 08/13/09   Page 66 of 84



severe shortness of breath, and only one of FVC, TLC or DLCO is in the

severe range. Generally, with pleural thickening there is no correlation

Itbetween radiographic severity and longitudinal loss of lung function."

Yates et al (1996), p.305.

       Blunting cannot be an element in the diagnosis of diffuse pleural

thickening. Nor can blunting be a measure of severity of pleural disease.

Lung function tests are the measure of severity of asbestos disease.

Rosenstock text, p.370. Miles et al (2008), "Clinical consequences of

asbestos-related diffuse pleural thickening, a review," p.6, states: "Few

longitudinal studies exist, but these have found no correlation between

radiographic severity and longitudinal loss of lung function. It The use of

blunting as a necessary condition to a diagnosis of diffuse pleural thickening

is scientifically arbitrary. Likewise, any use of blunting to determine severity

of functional impairment is scientifically arbitrary.

        76.     The Trust Distribution Procedures (TOP) category for "Severe

Disabling Pleural Disease, It p.26, requires thickness of "at least width 'a'" for

diffuse pleural thickening. "Width 'a'" is defined "based on definitions as set

forth in the 2000 revision of the ILO classification." ILO (2000), p.7, defines

width 'a' as 3-5mm. The TDP requires a finding of thickness of width "a"

(3mm) before the patient is determined to have "diffuse pleural thickening."



Expert Report by Dr. Alan C. Whitehouse             65                                    12/29/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 67 of 84



This is an incorrect definition of "diffuse pleural thickening." No

pulmonologist would use a minimum 3mm thickness as a necessary

condition to a diagnosis of diffuse pleural thickening. No practitioner would

use a minimum 3mm thickness to determine severity of asbestos pleural

disease.

        ILO (2000) provides a scoring system for chest x-rays for research

purposes. Light and Lee, Textbook of Pleural Diseases {2 nd Ed. 200B},

p.502, states that the ILO (2000) scheme is "not of much value clinically"

for pleural disease. ILO (2000) includes the minimum 3mm thickness in its

scoring definition of diffuse pleural thickening (OPT). Cases with OPT and

no 3mm thickness fall out of the ILO (2000) scoring system, and are called

out as pleural plaques. This is a false result. ILO (2000) cites no medical

literature in support of its new classification requiring the 3mm minimum.

There was no minimum thickness in the earlier version of the ILO Guidelines.

Width "a" was 0-5mm.

        In the CARD mortality study, of the patients who died of nonmalignant

asbestos disease 83% (63/76) had the 3mm minimum thickness on chest x-

ray. This is consistent with the clinical observation that many patients have

died with thin diffuse pleural thickening, which is extensive. On CT scan,

more pleural thickening is seen. Many more patients would qualify with the



Expert Report by Or. Alan C. Whitehouse               66                                    12/29/08
Asbestos/ClientlBankruptcyJWhitehouse Expert Report
           Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 68 of 84



3mm thickness if CT scans were used.

       Similarly, the measurements for the 2005 CARD study of 79 sets of

chest x-rays show that about 38 % of the patients were excluded by a

requirement of a minimum 3mm thickness. Exh. 17.

       The A TS (2004) Official Statement diaglnostic criteria for asbestos-

related disease includes no requirement of a minimum thickness for diffuse

pleural thickening. No diagnostic definition 01: diffuse pleural thickening

includes a requirement of a minimum thickness. In fact, ATS (2004), Official

Statement, p. 707, notes that pleural thickening "ranges in thickness from

less than 1mm up to 1cm or more.              II




       Nor is thickness of pleural thickening a measure of the severity of

impairment. As noted in the letter by the President of the American Thoracic

Society, "Diffuse pleural scarring can be associated with greatly diminished

FVC regardless of the extent or thickness of the scarring or its bilaterality. II

Exh. 18. As noted above, with pleural thickening there is no correlation

between "radiographic severity and longitudinal 105S of lung function."

Yates et at (1996), p.305.

       The use of 3mm thickness as a necessalry condition to diagnosis of

diffuse pleural thickening is scientifically arbitrary. Likewise, any use of the

3mm thickness to determine severity of functional impairment is scientifically



Expert Report by Dr. Alan C. Whitehouse            67                                    12/29/08
Asbeslos/ClienUBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC         Doc 22766-7           Filed 08/13/09    Page 69 of 84



arbitrary.

       77.     The TOP category for "Severe Disabling Pleural Disease," p.26,

defines diffuse pl"eural thickening as at least extent' 2
                                                11
                                                                         1
                                                                              •••   based on

definition set forth in the 2000 revision of the ILO classification.                   11   ILO

(2000), p.7, states that extent" 2 = total length exceeding one-quarter and

up to one-half of the projection of the lateral chest wall." The TDP requires

a finding of "extent> 25%" before the patient is determined to have

"diffuse pleural thickening." This is an incorn~ct definition of "diffuse pleural

thickening." No pulmonologist would use extent > 25%" as a necessary
                                                        11




condition to a diagnosis of diffuse pleural thickening. No practitioner would

use "extent> 25%" to determine functional severity of asbestos pleural

disease.

       In the CARD mortality study, of the patients who died of nonmalignant

asbestos disease 17% (62/75) did not have extent of pleural thickening

greater than 25 % of the chest wall. This is consistent with clinical

observation that many patients have died of pleural disease without the

"extent > 25 %," especially when observed only on a chest x-ray. Extent of

pleural thickening is better seen on CT scan. Many more patients would

qualify with "extent> 25%" if CT scans were used.

       The ATS (2004) Official Statement diaflnostic criteria for asbestos-



Expert Report by Dr. Alan C. Whitehouse            68                                             12/29/08
Asbeslos/ClienVBankruptcylWhilehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 70 of 84



related disease includes no requirement of "extent> 25%" for diagnosis of

diffuse pleural thickening. Nor is the extent of pleural thickening a measure

of severity of impairment. As noted by the President of the American

Thoracic Society, "diffuse pleural scarring can be associated with greatly

diminished FVC regardless of the extent or thickness of the scarring or its

bilaterality." Exh. 18. As noted above, with pleural thickening there is no

correlation "between radiographic severity and longitudinal loss of lung

function." Yates et al (1996), p.305.

        The use of "extent> 25%" as a necessary condition to a finding of

diffuse pleural thickening is scientifically arbitrary. Likewise, any use of

"extent > 25 %" to describe severity of functional impairment is

scientifically arbitrary.

        78.     The TOP excludes cases of unilatelral disease. The TOP category

for "Severe Disabling Pleural Disease" category requires that diffuse pleural

thickening be "one component of a bilateral nonmalignant asbestos-related

disease." Most Libby patients who have unilateral disease later develop

bilateral disease. In the CARD mortality study group of 79 nonmalignant

asbestos disease deaths, 1 % (1/79) had unilateral disease. Exh. 7.

        Asbestos pleural disease may be unilateral and severe. The President

of the American Thoracic Society states: "Diffuse pleural scarring can be



Expert Report by Dr. Alan C. Whitehouse               69                                    12/29/08
Asbestos/ClientiBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC           Doc 22766-7       Filed 08/13/09   Page 71 of 84



associated with greatly diminished FVC regardless of the extent or thickness

or scarring or its bilaterality." Exh. 18.

       Diffuse pleural thickening is often unilateral. A requirement in the TOP

excluding unilateral cases is scientifically arbitrary, as practicing physicians

may treat unilateral cases which are just as SE~vere as bilateral cases.

       Miles et al (2008), "Clinical Consequences of Asbestos-Related Diffuse

Pleural Thickening: A Review," p.5, states "Approximately one-third of cases

of DPT are unilateral." The Rosenstock text, p.369, states that pleural

thickening is "usually bilateral." The Fishman text, p.943, states that pleural

thickening can be "either bilateral or unilateral."

        Other categories in the TOP, pleural disE~ase levels 1, 2 and 3, also

require bilateral pleural disease, excluding unilateral disease. These

classifications too are scientifically arbitrary.

        The ILO {2000} classifications recognizEI unilateral disease. Its pleural

thickening scoring system, p. 7, refers to "an obliterated costophrenic angle"

implying that one angle is sufficient. Similarly the scoring system, p. 7, for

diffuse pleural thickening records measurements "separately for the right and

left side," implying that a single 3mm width in a single "extent> 25%" will

suffice. However, the TDP does not follow ILO (2000), as the TDP excludes

unilateral disease.



Expert Report by Dr. Alan C. Whitehouse              70                                    12/29/08
Asbestos/ClienUBankruptcylWhitehouse Expert Report
           Case 01-01139-AMC           Doc 22766-7      Filed 08/13/09   Page 72 of 84



       The exclusion of unilateral disease is scientifically arbitrary and has no

relationship to the treatment of asbestos disease patients.

       79.     The TOP omits diffusion capacity (OLCO) as a measure of

severity. The TOP, p. 26, for "Severe Disabling Pleural Disease" Level 48,

requires Total Lung Capacity (TLC) or Forced Vital Capacity (FVC) under 65.

Of all lung function tests, the three most important in asbestos disease are

FVC, TLC, and diffusion capacity. The Fishman text, p. 950, states "The

characteristic pulmonary function changes of asbestosis are a restrictive

impairment with a reduction in lung volumes (especially FVC and TLC),

decreased diffusion capacity, and arterial hypocemia. n ATS (2004) Official

Statement adopted the above quoted statement at p. 697. The 2005 Public

Citizen comment by Dr. Michael Harbut, Or. Philip J. Landrigan, Dr. Alan C.

Whitehouse and Dr. L. Christine Oliver states that OLeO is "essential to

determine how badly a person's lungs are impaired." Exh. 16. The TOP's

omission of diffusion capacity as a measure of severity is not consistent with

the medical literature, or clinical practice.

        Diffusion Capacity (OLCO) is a particularly important indicator of the

severity of impairment in the Libby asbestos disease patients. In some

cases, there is significant asbestos disease on the chest x-ray and only the

DLCO is reduced, not the FVC or TLC. Some patients with severe shortness


Expert Report by Dr. Alan C. Whitehouse            71                                    12/29/08
Asbestos/ClienUBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 73 of 84



of breath are severe only in the DLCO defect. In Whitehouse (2004), p.

224, 76% of the 123 patients had progressive loss of lung function. Losses

were about the same for each of FVC, TLC and DLCO at 2-3% per year.

        In the CARD mortality study, among those who died of nonmalignant

asbestos disease, 44% (30/68) had only OLCO under 65 (out of FVC, TLC

and DLCO). These patients were all severe and are now dead. Yet, none

would qualify as a "severe pleural" under the TOP because they did not

happen to have FVC or TLC under 65. In terms of clinical medicine, the

exclusion is scientifically arbitrary.

        80.     The TOP excludes those with an obstructive component to their

                                                                                                ll
asbestos pleural disease. TOP, p. 26, for "Severe Disabling Pleural Oisease                          ,




Level 48, and for moderate "pleural disease," Level 3, requires an "FEV,/FVC

ratio > 65 %." As discussed above in § H Obstructive Defect from Asbestos

Related Disease, an obstructive pattern is common with ARD, particularly in

the Libby cohort. To exclude those with signiificant Asbestos Pleural Disease

and an obstructive component would be scientifically arbitrary.

        The Fishman text, p. 604, states: "The hallmark of the obstructive

pattern is a reduction in the FEV,/FVC percentage...Typically, all three lung

volumes, residual volume, FRC, and TLC are increased." Here, increased

means abnormal, or over 120% of predicted. A mild reduction in FEV,/FVC


Expert Report by Dr. Alan C. Whitehouse               72                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-7       Filed 08/13/09   Page 74 of 84



ratio may be seen as a ratio of 60-70. Markowitz et al (1997), p. 102, uses

a ratio of 70 as normal for ages under 60 and a normal of 65 for those 60 or

older.

         The problem is that smoking disease meW also cause reduction in the

ratio, and there may be an interest in excluding persons with minimal

asbestos disease and predominately smoking disease. A more scientifically

sound approach would be to exclude those with a ratio under 65 and TLC

abnormally high (over 120). Of the CARD mortality study nonmalignant

deaths, 8% (6/71) of those with full lung funGtion tests had a total lung

capacity over 120. As I understand it, these :six would go to individual

review.

         No requirement of an FEV 1/FVC ratio over 65 is included as a

necessary condition to the diagnosis of asbestos-related disease in the A TS

(2004) Official Statement on standard practic l8 in diagnosis of ARD. No

diagnostic definition of ARD includes a require!ment that the FEV 1IFVC ratio

be over 65. Excluding those patients with a ratio under 65 from the pleural

disease classification is scientifically arbitrary. The interest in excluding

those with smoking disease and no significant asbestos disease is

understood. This may be properly accomplished through a requirement that

total lung capacity (TLC) be abnormally high (over 120).



Expert Report by Dr. Alan C. Whitehouse               73                                    12/29/08
Asbestos/Client/BankruptcylWhitehouse Expert Report
            Case 01-01139-AMC           Doc 22766-7       Filed 08/13/09   Page 75 of 84



       81 .    The data and other information considered in forming the above

opinions and observations include:

       a.       Patient information and observations as treating physician.

       b.      All information referenced above.

       c.       Medical literature on asbestos dist~ase.

       d.       Consultations with Dr. Arthur Frank, and his expert report.

       e.       Consultations with epidemiologist Dr. Craig Molgaard.

       f.       A listing of cases with trial or deposition testimony is attached.

                Compensation is at the rate of $350 per hour.

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Expert Report by Dr. Alan C. Whitehouse              74                                    12/29/08
Asbestos/ClienUBankruptcylWhitehouse Expert Report
        Case 01-01139-AMC            Doc 22766-7      Filed 08/13/09   Page 76 of 84



        DATED this ,;J~ day of December, 2008.


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                                          Alan C. Whittehouse MO, FCCP




Expert Report by Dr. Alan C. Whitehouse                                                12/29108
AsbestoslClientIBankruptcyMlhitehouse Expert Report
           Case 01-01139-AMC            Doc 22766-7        Filed 08/13/09   Page 77 of 84



           List of Exhibits to Expert Report by Dr. Alan C. Whitehouse


1.      Whitehouse, A.C., Curriculum vitae.

2.      "Asbestos-Related Pleural Disease Due to Tremolite Associated with
        Progressive Loss of Lung Function: Serial Observations in 123 Miners,
        Family Members, and Residents of Libby, Montana," Am J Ind Med
        46:219-225 (2004).

3.      "Environmental Exposure to Libby Asbestos and Mesotheliomas,"
        Whitehouse (2008) Am J Ind Med.

4.      Client Sort by Exposure (Community/Family Member/Worker) (CARD
        patients only).

5.      Dead in 123 patients in Whitehouse (2004).

6.      Chart "Case # Type of Progression" with x-rays on CD attached.

7.      Chart, "Summary of Mortality Study Disease Percentages." Mortality
        data are on a CD titled "CARD Mortalitv Study Spreadsheets,"
        containing spreadsheets on 79 ARPD dl~aths, 37 cancer deaths" and
        death certificate information for 116 deaths. "116 patient medical
        records and death certificates in CARD Mortality Study" is a separate
        CD. Patient information on non clients is redacted.

8.      Printout, "Ubby Claimants on Oxygen (CARD patients only)," 5/28/08
        and "Libby Claimants with FVC, TLC or DLCO < 60 (CARD patients
        only}," 5/28/08.

9.      Chart "Mesothelioma Cases Due to Exposure to Libby Asbestos."
        Documents supporting the chart are on the CD titled "Meso Cases
        Libby 7/30/07."

1O.     Chart Deceased clients of MHSM (death date order) and chart of
        Deceased Clients of LSK (death date order).

11.     Charts 035a "VVorkers with Disease - 1969," 035b "Workers with
        Disease - 1975," and.035c "Workers with Disease - 1976.                     If




Expert Report by Dr. Alan c. Whitehouse               76                                    12/29/08
Asbestos/ClientlBankruptcyJWhitehouse Expert Report
           Case 01-01139-AMC           Doc 22766-7       Filed 08/13/09   Page 78 of 84



12.    Cookson (1986), Fig. 1. Chart W-2 "Years since first exposed."

13.    Chart, Studies on Radiographic Progression of Asbestos Disease.

14.    Chart, Workers Dead from Asbestos Disease (2000 study).

15.    Audit of HNA Denials and Downgrades of Severity of Disease
       {December 2005}, and chart of data with non-Libby Claimants deleted.

16.    Public Citizen, "Leading Medical Experts Fault Arbitrary, Outdated
       Medical Criteria in Asbestos Bill," (May 2005).

17.    Letter dated February 9, 2005, titled IJPreliminary Report of 79 Chest
       X-rays Reviewed Relative to the Asbestos Injury Resolution Act of
       2005, with attached Log of Patients Criteria Study, FVC and on
       Oxygen (non-Libby Claimants' name~ are blacked out.)

18.    Letter by the President of the American Thoracic Society.

19.     Chart, "Weill comparison to ATSDR and CARD. 1T Documents
        supporting the chart are on the CD titled "Weill Comparison 7/23/07.                  II




20.    W.R. Grace & Co., I1Source Emissions - Results of Surveys 1975. 11

21 .    Chart, II Libby Cohort Deaths Per Source."

22.     W.R. Grace & Co., memo, McCaig to VValsh 9/17/85.

23.     Chart, "Center for Asbestos Related Disease, Libby Pulmonary
        Function Test (PFT) Comparison with Independent Medical Exam
        PFTs." Documents supporting the chart are on the CD titled 1TCARD
        PFT Comparison with IME PFTS 7/23/07."

24.     Listing of cases with deposition or trial testimony.




Expert Report by Dr. Alan C. Whitehouse             77                                    12/29/08
Asbestos/ClientlBankruptcylWhitehouse Expert Report
                    Case 01-01139-AMC           Doc 22766-7       Filed 08/13/09   Page 79 of 84
                                                   LIBBY STUDIES

AUTHOR/               PUB     TITLE OF ARTICLE/TEXT
EDITOR               DATE

Amandus               1986 The Morbidity and Mortality of Vermiculite Miners and Millers Exposed to
                           Tremolite-Actinolite

Amandus               1987 Prevalence of Radiographic small opacities in vermiculite miners

Amandus I             1987 The Morbidity and Mortality of Vermiculite Miners and Millers Exposed to
                           Tremolite-Actinolite: Part I. Exposure Estimates

Amandus II            1987 The Morbidity and Mortality of Vermiculite Miners and Millers Exposed to
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Hart                  2007    Evaluation of Asbestos Exposures during Firewood-Harvesting Simulations in
                              Libby I MT USA - Preliminary Data

Horton                2008    Select Mortality and Cancer Incidence Among Residents in Various U.S.
                              Communities that Received Asbestos-Contaminated Vermiculite Ore from Libby,
                              Montana

Lockey                1984 Pulmonary Changes after Exposure to Vermiculite Contaminated with Fibrous
                           Tremolite

McDonald              1986 Cohort Study of Mortality of Vermiculite Miners Exposed to Tremolite

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McDonald              1988     Health of Vermiculite Miners Expos:ed to Trace Amounts of Fibrous Tremolite
Whitehouse            2004 Asbestos-Related Pleural Disease Due to Tremolite Associated with Progressive
                           Loss of Lung Function: Serial Observations in 123 Miners, Family Members, and
                           Residents of Libby I Montana

Whitehouse            2008     Environmental Exposure to Libby Asbestos and Mesotheliomas




         Expert Report by Dr. Alan C, Whitehouse             78                                    12/29/08
         Asbestos/ClientlBankruptcylWhitehouse Expert Report
                 Case 01-01139-AMC           Doc 22766-7       Filed 08/13/09   Page 80 of 84


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      Expert Report by Dr. Alan C. Whitehouse             79                                    12/29/08
      Asbestos/ClientiBankruptcylWhitehouse Expert Report
                 Case 01-01139-AMC           Doc 22766-7        Filed 08/13/09   Page 81 of 84



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      Asbestos/ClienUBankruptcylWhitehouse Expert Report
                 Case 01-01139-AMC            Doc 22766-7        Filed 08/13/09   Page 82 of 84


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      Expert Report by Dr. Alan C. Whitehouse               81                                    12129/08
      Asbestos/ClientlBankruptcylWhitehouse Expert Report
                 Case 01-01139-AMC            Doc 22766-7        Filed 08/13/09   Page 83 of 84


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      Expert Report by Dr. Alan C. Whitehouse               82                                    12/29/08
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                 Case 01-01139-AMC           Doc 22766-7       Filed 08/13/09   Page 84 of 84


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      Expert Report by Dr. Alan C. Whitehouse             83                                    12/29/08
      Asbestos/ClientlBankruptcyJWhitehouse Expert Report
